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     1                          UNITED STATES DISTRICT COURT

     2           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

     3           HONORABLE PHILIP S. GUTIERREZ, U.S. DISTRICT JUDGE

     4

     5   COLONY COVE PROPERTIES, LLC, a         )
         Delaware limited liability company,    )
     6                                          )
                       PLAINTIFF,               )              CASE NO.
     7                                          )
                 vs.                            )              CV 14-03242-PSG
     8                                          )
         CITY OF CARSON, a municipal            )
     9   corporation; CITY OF CARSON            )
         MOBILEHOME PARK RENTAL REVIEW BOARD, )                PAGES (1 to 86)
    10   a public administrative body; and      )
         DOES 1 to 10, inclusive,               )              VOLUME 1
    11                                          )
                       DEFENDANTS.              )
    12                                     ____ )

    13

    14

    15
                                  REPORTER'S TRANSCRIPT OF
    16                                   TRIAL DAY 1
                                  THURSDAY, APRIL 28, 2016
    17                                    9:07 A.M.
                                   LOS ANGELES, CALIFORNIA
    18

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             ________________________________________________________
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                            MAREA WOOLRICH, CSR 12698, CCRR
    24                      FEDERAL     OFFICIAL    COURT   REPORTER
                          255    EAST   TEMPLE   STREET,    ROOM   181-K
    25                       LOS    ANGELES,     CALIFORNIA   90012
                                   MAREAWOOLRICH@AOL.COM




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     1                          APPEARANCES OF COUNSEL:

     2

     3   FOR THE PLAINTIFF:

     4
             O'MELVENY & MYERS, LLP
     5       BY: DIMITRI D. PORTNOI
             BY: MATTHEW W. CLOSE
     6       400 South Hope Street
             18th Floor
     7       Los Angeles, California 90071

     8
             GILCHRIST & RUTTER, APC
     9       BY: THOMAS W. CASPARIAN
             Wilshire Palisades Building
    10       1299 Ocean Avenue, Suite 900
             Santa Monica, California 90401
    11

    12
         FOR THE DEFENDANTS:
    13

    14       ALESHIRE & WYNDER, LLP
             BY: JEFFREY MICHAEL MALAWY
    15       BY: JUNE SUSAN AILIN
             BY: STEPHEN R. ONSTOT
    16       18881 Von Karman Avenue, Suite 1700
             Irvine, California 92612
    17

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     1           LOS ANGELES, CALIFORNIA; THURSDAY, APRIL 28, 2016

     2                                   9:07 A.M.
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     3

     4                 THE CLERK:    Calling civil 14-3242, Colony Cove

     5   Properties versus City of Carson.

     6         Counsel, please state your appearances.

     7                 MR. CLOSE:    Good morning, Your Honor.     Matthew Close

     8   and Dimitri Portnoi, O'Melveny & Myers, LLP for the plaintiff.

     9                 THE COURT:    Good morning.

    10                 MR. ONSTOT:    Good morning, Your Honor.

    11   Stephen Onstot and June Ailin and Jeff Malawy for the

    12   defendants.

    13                 THE COURT:    With regard to the witnesses to be

    14   disclosed to the jurors when they come in, I have plaintiff's

    15   witness list, the last plaintiff's witness list.         Are these the

    16   four that you intend to call solely?

    17                 MR. CLOSE:    Yes, Your Honor.

    18                 THE COURT:    Then for the defense I have the joint

    19   witness list.     Who should I identify besides the witnesses that

    20   plaintiff is calling?       Who should I identify to the jurors?

    21                 MR. ONSTOT:    Your Honor, that would be

    22   Kenneth Baar --

    23                 THE COURT:    Give me a second.   Okay.    Kenneth Baar.

    24                 MR. ONSTOT:    James Brabant, John Ellis,

    25   Kenneth Freschauf, Mark Hansen, Ann James, and Doug Danny.




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     1                THE COURT:    I'm sorry.   Doug --

     2                MR. ONSTOT:   Danny, D-a-n-n-y.      He's on page 5 of

     3   the joint --

     4                THE COURT:    I've got it.

     5                MR. ONSTOT:   And Matt Crow is the final one.

     6                THE COURT:    All right.

     7         And then I've received plaintiff's and defendants'

     8   proposed voir dire questions.      I will ask all the questions

     9   submitted.     I will modify slightly the defendants' questions

    10   just to, I think, make it a little broader.

    11         I want to also know if any of them have -- one of your

    12   first questions is what is their understanding of rent control.

    13   I would propose also if they have any specialty in that area.

    14         And then also the second question, do you think the

    15   concept of rent control is unfair, I would prefer to ask if

    16   they have strong feelings about rent control, and we'll see

    17   both perspectives about what are their thoughts on rent

    18   control.   Those are the changes I would make.

    19         Also, there were two -- in terms of the preliminary

    20   instructions to be given to the jurors, after the jurors were

    21   selected, there were two disputed.        One of them was Instruction

    22   No. 2, the claims and defenses.      Essentially what I'm going to

    23   do is edit the plaintiff's proposed jury instruction that will

    24   simply read, "To help you follow the evidence, I will give you

    25   a brief summary of the positions of the parties.         Plaintiff,




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     1   Colony Cove Properties, LLC has one claim against Defendants,

     2   City of Carson and City of Carson's Mobile Home Park Rental

     3   Review Board.

     4         "Plaintiff alleges that defendants effected a taking of

     5   plaintiff's property without just compensation in violation of

     6   the Fifth Amendment to the United States Constitution and

     7   Title 42, United States Code Section 1983.

     8         "Plaintiff has the burden of proving this claim.

     9         "Defendants deny this claim."

    10         And then, since the matter is going to the jury, I'm going

    11   to give disputed Instruction No. 3 with regard to the burden of

    12   proof and the preponderance of evidence.

    13         I think that takes care of it from my point of view.

    14   Anything else to address before we call jurors?

    15               MR. CLOSE:    Yes, Your Honor.     We'd like to address a

    16   few housekeeping matters if the Court would indulge.

    17         I wanted to see -- we worked closely with defense counsel

    18   on getting together a list of admitted facts as part of the

    19   meet and confer process.

    20         We have -- what's the Court's preference in terms of how

    21   to present that to the jury?      I think we've agreed on the form.

    22   We proposed it as an exhibit number.       Defense counsel raised is

    23   it really an exhibit or evidence.       But we would like a clear

    24   record that it's stipulated and in.

    25               THE COURT:    Well, I agree with defense counsel.         It




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     1   would be akin to sending back trial transcripts back there.

     2   It's essentially conceded as admitted evidence.

     3           So what I would propose, as the proponent of the evidence,

     4   the stipulated facts, at some point in their case in chief

     5   asked for my permission to read those facts to the jurors and

     6   indicate -- I'll indicate to the jurors these are facts that

     7   are stipulated to by the parties.       That means the parties agree

     8   these facts are true and correct.

     9                MR. CLOSE:     Do we want to do that at the start of

    10   the case?

    11                THE COURT:     Whatever fits in your case.    I'll leave

    12   it to you.       If you think it's better at the end of the case or

    13   after the first witness, I leave it to you, when do you think

    14   it's best for the presentation of your case.

    15                MR. CLOSE:     And we've agreed on a paper version of

    16   it too that I think both sides agree can be published to the

    17   jury.    Okay.

    18           We also worked extensively with defense counsel on a -- a

    19   large number of the exhibits have been stipulated to both

    20   authenticity and admissibility.      It would be our view that

    21   right now or at some moment shortly hereafter that we formally

    22   admit those into evidence and assure the efficiency of the

    23   trial process thereafter.

    24                THE COURT:     I would say let's do that right after we

    25   pick the jury, I give them preliminary instructions, and we are




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     1   getting ready to break for lunch.       We'll take care of all the

     2   admitted exhibits.

     3         Once the document is admitted, just let me know the number

     4   so I can take a quick look so I can make sure it actually is

     5   admitted.   Then once I've done that, I'll allow you to publish.

     6               MR. CLOSE:    That's fine.    Mostly just wanting to

     7   make sure we don't have a record issue later of all these

     8   exhibits actually being admitted.

     9         There is -- we have an Exhibit 108 which is subject to

    10   also a request for judicial notice which is the historical

    11   prices of the S&P 500 Index.      I don't think its contents are

    12   disputed.   I believe there may be a question about is it an

    13   exhibit, is it something that's judicially noticed.         And I

    14   think there's no dispute it's judicially noticeable.

    15         We would just like to resolve that in whatever format the

    16   Court wants.    As I said, the content is not disputed.

    17               THE COURT:    Is a witness going to refer to the

    18   H&P -- the S&P?

    19               MR. CLOSE:    Yes.

    20               THE COURT:    What witness is going to do that?

    21               MR. CLOSE:    The experts.

    22               THE COURT:    Before that expert testifies, let's deal

    23   with it.

    24               MR. CLOSE:    Okay.

    25         A couple other housekeeping matters if the Court will




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     1   indulge me.

     2           When does the Court generally prefer to handle the charge

     3   conference and the rest of the instructions in the arc of the

     4   case?

     5                 THE COURT:   Probably realistically I'll look at them

     6   over the weekend again.     It just depends what else I'm doing,

     7   how fast I can get to them.      I mean, certainly we'll get to

     8   them -- I'll give you an example.       With sufficient -- it will

     9   be probably at the latest the day before -- the afternoon

    10   before -- so let's say argument is Thursday morning, Wednesday

    11   night so that you have them.      And if you want to show them to

    12   the jurors as part of your argument, you'll have that ability.

    13   That probably would be the latest.

    14                 MR. CLOSE:   Certainly -- there's not that many.

    15                 THE COURT:   There's not that many.

    16                 MR. CLOSE:   If the Court gets to them earlier, we'd

    17   be amenable to coming in Monday to resolving that so we don't

    18   have as much --

    19                 THE COURT:   Unlikely, given the Monday calendar.

    20                 MR. CLOSE:   There's still time.

    21           A couple other housekeeping matters.     We spoke with the

    22   CRD regarding jury selection.      Can I just confirm how many

    23   prospective jurors the Court puts in the box, and does the

    24   Court also conduct voir dire of the jurors -- the standard line

    25   of questions, Your Honor?




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     1               THE COURT:    I will put 14 in the box, 1 through 14.

     2   I only will question -- ask questions of the jurors in the box.

     3         So let's say for a moment, assuming that there aren't any

     4   challenges for cause, so let's say three peremptories a side,

     5   then if both parties exercise all three peremptories, so it

     6   will be eight for the jurors.      If for some reason somebody

     7   doesn't exercise a peremptory, it will be the first eight for

     8   the jurors, the first eight.

     9               MR. CLOSE:    So a jury of eight.

    10         How does the Court handle peremptories?        Do they announce

    11   from counsel table, or does the Court like a conference?

    12               THE COURT:    It depends where we are at.      Most likely

    13   questioning the 14 jurors will take a little bit of time.

    14   Usually what I'll do -- if the time is appropriate, what I

    15   would prefer to do is say let's take a 10-minute, 15-minute

    16   break, allow you to confer with each other, and then while the

    17   jurors are out waiting, we would exercise the peremptory

    18   challenges outside their presence.

    19         If it goes more quickly, then we'd have a sidebar

    20   conference and exercise peremptories at sidebar.         But most

    21   likely during the first break.

    22               MR. CLOSE:    So it sounds like there's no scenario

    23   under which we are calling them out, and therefore I don't need

    24   to inquire about the Court's practice with respect to back

    25   strikes and the like.




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     1                THE COURT:    No.   We won't do it from the counsel

     2   table.    We'll either do it in open court without the jurors not

     3   present or at sidebar.

     4                MR. CLOSE:    Just rules of the game on time,

     5   seven hours a side.     How does the Court handle to the extent

     6   there are sidebars or more, you know, objection discussions

     7   that take, you know, more than the normal objection of ruling?

     8                THE COURT:    If it's your witness, you are on the

     9   clock.    Or if it's cross, that cross is on the clock.

    10                MR. CLOSE:    Right.   The examining lawyer is on the

    11   clock even for the sidebars and --

    12                THE COURT:    Exactly.

    13                MR. CLOSE:    I assume at the end of each day we'll

    14   sync up on the Court's time?

    15                THE COURT:    If you ask me and I remember.      You'll

    16   have to ask me because I won't remember.

    17                MR. CLOSE:    The balls in our court.     I get it.

    18           Moving through, when does the Court -- so there are, I

    19   think, objections to two of our demonstratives that we plan to

    20   use in openings.     We have objections to the defense

    21   demonstratives but none of which they've disclosed for use in

    22   opening.    Their openings are clean.     There's two of ours that

    23   there's an objection to.

    24           When in the sequencing would the Court like to resolve

    25   that?




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     1                THE COURT:    We should do it now unless you want your

     2   opening interrupted.

     3                MR. CLOSE:    I do not.   I do not.

     4                THE COURT:    What are they?    Show them to me.

     5                MR. CLOSE:    Your Honor, may I approach?

     6                THE COURT:    You may.

     7                MR. CLOSE:    The two that are on top are the disputed

     8   ones.

     9                THE COURT:    Okay.   So are these the ultimate numbers

    10   of the expert in terms of plaintiff's expert, defense expert,

    11   damages calculation?

    12                MR. CLOSE:    They are the numbers in their reports.

    13   Both reports are stipulated as to authenticity and

    14   admissibility.

    15                THE COURT:    And you anticipate these numbers will

    16   come into evidence?

    17                MR. CLOSE:    I anticipate they will as soon as we

    18   make a motion at the start of the case to admit all the

    19   stipulated exhibits.

    20                THE COURT:    And the objection?

    21                MS. AILIN:    Good morning, Your Honor.     June Ailin

    22   for Colony Cove.

    23           We have such a significant issue in this case as to

    24   whether there is any liability for damages that any discussion

    25   of damages in the opening is inherently argumentative, and it




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     1   gets worse when you take big pictures and put them up in front

     2   of the jury.    It's argumentative and prejudicial.

     3                 THE COURT:   The objection is overruled.

     4          Any other matters?

     5                 MR. CLOSE:   Thank you, Your Honor.     I think that

     6   resolves opening statement demonstratives.

     7          And my proposal would be in the mornings we'll go

     8   through -- we have some standing ones to the defendants'

     9   objections, and we'll just disclose the morning of kind of

    10   practice.

    11          I think I'm down to -- the Court -- we made a motion

    12   in limine, plaintiff did, No. 7, with respect to the defense

    13   expert Mr. Baar that I took note the Court denied without

    14   prejudice.

    15                 THE COURT:   I'm just thinking with regard to some

    16   things, there might be a lack of foundation as to expertise.

    17   There may be some lack of foundation as to expertise as you

    18   raise that I'm not -- until I hear the preliminary

    19   instructions, preliminary testimony, I just don't know.          I

    20   don't know.

    21                 MR. CLOSE:   Okay.

    22                 THE COURT:   So we'll treat it like any other expert.

    23   So if he gives -- goes through his CV and his expertise and the

    24   nature of his -- and defense asks a question and you believe

    25   it's lack of foundation, expertise, you get up, I'll rule.




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     1                MR. CLOSE:    This expert the issue is, the Court

     2   probably recalls, is he has some --

     3                THE COURT:    Right.   Whether he can testify as to

     4   incorporate the case; right?

     5                MR. CLOSE:    Basically here's what Justice Bolin

     6   meant when he wrote this Court of Appeal decision.

     7                THE COURT:    I don't even know what that's going to

     8   look like.    I want to see it.

     9                MR. CLOSE:    Okay.

    10                THE COURT:    If you want to stand up and object, I'll

    11   have it in context.     But I suspect, since Justice Bolin is

    12   dead, anyone opining as to what he thinks and never having

    13   asked him, it seems a bit odd.

    14                MR. CLOSE:    I agree.

    15          Now, this is the reason we made the motion in limine

    16   early.    It's also sitting there in the report that there will

    17   be a --

    18                THE COURT:    I don't even know -- they may not

    19   solicit it either as well.      I'm on top of what you are saying.

    20   I just thought, well, maybe under some scenario it could come

    21   in.   I don't know.    But, I mean, there's a couple scenarios in

    22   my mind that it could come in.        I needed context.

    23                MR. CLOSE:    Understood.    Very well.   I think that

    24   exhausts my list.     But let me check with Mr. Portnoi.       Excuse

    25   me one second.




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     1          I assume the Court's practice is the same.        We had another

     2   motion in limine with respect about arguing about wealth and

     3   those issues.

     4                THE COURT:    I agreed with the defense.     It's just

     5   overbroad.    So, you know, they were not claiming that they were

     6   going to use necessarily the wealth of the individual tenants,

     7   but they needed some leeway in terms of explaining some

     8   socioeconomics aspects of rent control.        And I thought that was

     9   fair game for them.

    10          But I felt they were -- the motions and oppositions were

    11   two ships crossing in the night not connecting.         So that's why

    12   I said denied without prejudice.       I could see some wealth

    13   information is obviously going to come in as to your particular

    14   principal because he's invested $5 million of his own dollars

    15   and he has another mobile home park.        So they are going to know

    16   he has some serious cash.       At least from my perspective it's

    17   serious cash.    Maybe not --

    18                MR. CLOSE:    He'll be here shortly.

    19                THE COURT:    So I could see some scenario when it

    20   would get prejudicial.      That's what I was thinking, the motion

    21   was overbroad.

    22                MR. CLOSE:    And I accept that and understood that,

    23   and I mostly was clarifying if we do find a point where -- we

    24   won't be drawing the Court's ire for objecting on the motion in

    25   limine -- notwithstanding the denial of the motion in limine if




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     1   we think it crosses that line?

     2                THE COURT:    Right.   Right.

     3                MR. CLOSE:    All right.   I think that's it.

     4   Thank you, Your Honor.

     5                THE COURT:    All right.   Anything from the defense

     6   before we call a jury panel?

     7                MR. ONSTOT:    Yes, Your Honor.     Stephen Onstot for

     8   the defendants.

     9          As the Court recalls, this matter was set for trial

    10   originally for April 5th.      And due to the Local Rules and

    11   pretrial planning efforts, et cetera, et cetera, we had to

    12   prepare well in advance of the trial date with regards to the

    13   witnesses and testimony.

    14          At that time in the spring, one of our witnesses,

    15   Doug Danny, was scheduled to have hip replacement surgery.             Not

    16   just hip surgery, hip replacement surgery, and would be

    17   unavailable April 5th to testify in person.         So what we did was

    18   we planned to use his deposition.

    19          Last Wednesday I learned that, because of the two trial

    20   continuances and Mr. Danny is now clear to travel and could be

    21   here Tuesday morning at 10:00 or whenever Your Honor wants to

    22   start proceedings on Tuesday.

    23          So he will be testifying live.        I can argue that and the

    24   authority for it.     But there's a strong preference for

    25   witnesses to testify live.




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     1                THE COURT:    Is there an objection?

     2                MR. CLOSE:    Yes, Your Honor.

     3                THE COURT:    Why?

     4                MR. CLOSE:    Well, two grounds.    The witness was

     5   disclosed as being by deposition.       We were never told of the

     6   contingency until last week despite the fact apparently defense

     7   had been monitoring -- so first was he was never disclosed.            We

     8   did depo designations and I just learned last week.

     9          The second ground is it wasn't clear from the discussion

    10   here, but when it was presented to me, it was like and wherever

    11   we are Tuesday morning, we may call him during your case.

    12                THE COURT:    That's -- if you don't stipulate to

    13   that, that's not going to happen.       The objection as to him

    14   testifying in person is denied, but whose ever -- whose ever

    15   case is going, they are the master of the case, and I'm not

    16   going to force anybody to interrupt.        If the parties can't

    17   agree of taking someone out of order, that's the agreement

    18   between the parties.

    19          And I don't mean to be negative about that.        If you have a

    20   concept of the flow of your case that can't be interrupted for

    21   a strategic reason, I understand that.

    22                MR. CLOSE:    And that may be a nonissue.

    23                THE COURT:    Right.

    24                MR. CLOSE:    But in my view just to accommodate this

    25   witness who is a third party outside the jurisdiction who wants




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     1   to be in and out by 10:30, to take a damages expert off the

     2   stand is a bridge too far.

     3                 THE COURT:    Okay.

     4                 MR. CLOSE:    There's a third issue I have with this

     5   witness now that I know he is going to be a live witness

     6   potentially that I want to at least socialize with the Court.

     7          This witness was the broker for the seller of the property

     8   to our client.     A broker at a big firm, been there forever.

     9   I've now read his deposition.

    10          I would say 75 percent of what he testifies to is

    11   basically expert opinion on the industry, how to operate

    12   mobile home parks, the business over the last 25 years.          He was

    13   never disclosed as an expert, never presented as an expert

    14   report.

    15          So I understand the Court's ruling on his live testimony,

    16   but I at least want to be clear now our position is that

    17   witness can testify to what he heard, saw, and said, but we are

    18   going to --

    19                 THE COURT:    Meet and confer as to whether or not

    20   he's going to testify as to expertise, and we'll talk about it.

    21                 MR. CLOSE:    Very well.   We will.   Thank you,

    22   Your Honor.

    23                 THE COURT:    Anything else from the defense?

    24                 MR. ONSTOT:   Nothing else, Your Honor.

    25                 THE COURT:    Mr. Close, I had a last question, and




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     1   then we'll call a jury panel.       Is there any -- with

     2   Judge Nagel, are there any further discussions anticipated, or

     3   are the discussions over as far as you know?

     4                MR. CLOSE:    I believe they are over.

     5                THE COURT:    So that's interesting.     I say it's

     6   interesting because we don't know who the jurors are going to

     7   be in this case.     As I've read through the -- read through

     8   the -- all the materials now, I think I've got a pretty good

     9   understanding of the case.      And I frankly have absolutely no

    10   idea who is going to win and who is going to lose.         I have

    11   none.

    12           I certainly wouldn't go to Las Vegas and bet on this case.

    13   There was another case I just tried back to back where I looked

    14   at both sides, and I said I don't know who is going to win.

    15   Each side has its momentum at times and loses momentum.          The

    16   other side gains momentum.      I suspect the same will be in this

    17   case.

    18           So it's kind of strange to have two cases back to back.

    19   Usually, right or wrong, you can kind of -- even the litigants

    20   may know.    If I try this case ten times, I'll get a defense

    21   verdict eight.     If I try this case ten times, I'll win eight

    22   times.    This one I don't know.     I just don't know who is going

    23   to win.

    24           So given that, that's why I said I'm surprised there

    25   aren't any ongoing negotiations.       It doesn't seem like a




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     1   business person or a municipality would be much into gambling.

     2                MR. CLOSE:    I certainly agree with most of what you

     3   said.   Maybe not at the end.     We certainly were engaged --

     4                THE COURT:    I'm not blaming anybody.     It just seems

     5   a business person -- apparently from what I can see and what

     6   I've read looks successful.      A municipality, it just seems

     7   those are not -- maybe not if you are a gambler.         I don't know.

     8   It just seems like these aren't people that are going to go to

     9   Las Vegas and do crazy things.

    10                MR. CLOSE:    My client is not a gambler.      And as

    11   anyone who reads the paper or watches the news, sometimes

    12   government -- sometimes other factors are at work other than,

    13   you know, what's maybe business.

    14                THE COURT:    What was -- you don't have to tell me.

    15   I don't want to talk about anything about mediation.          But today

    16   would your drop-dead number be today?        If you don't want to

    17   tell me, you don't have to answer the question.         If you want,

    18   if you feel comfortable telling me, what would your drop-dead

    19   number be today?

    20                MR. CLOSE:    It's a package --

    21                THE COURT:    If you don't feel comfortable telling

    22   me, that's fine.

    23                MR. CLOSE:    It's not so simple as that.      Let me put

    24   it that way.    There are other variables in play other than

    25   just --




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     1                THE COURT:    A number.

     2                MR. CLOSE:    -- a number.    And at one point I thought

     3   Judge Nagle had us quite close.        And then out of respect for

     4   the mediation process and my colleagues on the other side, I

     5   don't want to say any more other than you are preaching to the

     6   choir.

     7                THE COURT:    I'm not preaching to anybody.      I'm just

     8   making observations.      It just seems to me at the end of the

     9   day, if there was an ability to resolve the case -- by next

    10   Friday, someone going to be extremely unhappy and happy.

    11   There's not going to be a between.        I don't see this case as

    12   a -- as jurors going to compromise and do something.          I think

    13   somebody is going to win and somebody is going to lose.          So

    14   next Friday someone is -- either your entrepreneur or elected

    15   officials are going to be unhappy.

    16                MR. CLOSE:    I understand that, Your Honor.      That's

    17   the -- Judge Nagle certainly, I think, made that argument at

    18   least in the sessions I participated in and my client

    19   participated in in a compelling fashion.        And, you know, I

    20   don't know what more to say other than I'm with you.

    21                THE COURT:    Anything from the defense side?      I just

    22   made that observation.      I don't want to get into the mediation

    23   process, but from your perspective, are the negotiates

    24   basically were done, and we are going to move to trial and

    25   figure out whether this is going to end up red or black as we




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     1   roll the roulette wheel?

     2                 MS. AILIN:    June Ailin for the defense.

     3          Yes, discussions are over.        Mr. Close's representations on

     4   that is accurate as is his comment that sometimes there are

     5   other considerations besides money.         And that's all I feel at

     6   liberty to say.

     7                 THE COURT:    I thought this case was about money.

     8   Either the City pays nothing or the City pays something.           And

     9   so at the end of the day, someone's judgment is going to be way

    10   off.

    11                 MR. CLOSE:    Your Honor, I'm not -- you are right in

    12   terms of the judgment in this case.         As the Court is well

    13   aware, the dispute arises from certain decisions made by the

    14   defendant with respect to their police power over the setting

    15   of rents.    And so --

    16                 THE COURT:    There's ongoing relationships.

    17                 MR. CLOSE:    I'm sorry?

    18                 THE COURT:    There's ongoing relationships.

    19                 MR. CLOSE:    Correct.     My client continues to own the

    20   park in the city.

    21                 THE COURT:    All right.    Let's go ahead and call the

    22   jury panel.    Thank you.

    23                 (A brief recess was taken.)

    24                 (Prospective jurors enter the courtroom.)

    25                 THE COURT:    Good morning and welcome to




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     1   Courtroom 880.     At this time I'm going to ask you to rise

     2   again, stand so that the courtroom deputy can administer the

     3   oath to you.

     4                THE CLERK:    Please raise your right hand.

     5           Ladies and gentlemen, do you and each of you solemnly

     6   swear that you will make true answers to such questions as may

     7   be put to you touching upon your qualifications to serve as

     8   trial jurors in the cause now before this Court, so help you

     9   God?

    10                PROSPECTIVE JURY:     I do.

    11                THE CLERK:    Thank you.

    12                THE COURT:    Again, good morning ladies and

    13   gentlemen.     I want to thank you in advance of your jury service

    14   on this case.     All of us understand that jury service can

    15   sometimes be inconvenient, but we all appreciate your coming

    16   here to give your attention to this case.

    17           This morning we are going to select a jury in a civil

    18   case.    It's entitled Colony Cove Properties, LLC versus City of

    19   Carson and the City of Carson Mobilehome Park Rental Review

    20   Board.

    21           My name is judge Phillip Gutierrez.      My courtroom deputy

    22   is Ms. Hernandez, and my court reporter is Ms. Woolrich.

    23           You'll be given our phone numbers later on in the

    24   proceedings if you are selected as a juror.        The reason we give

    25   you our phone numbers is so, if something comes up, you can




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     1   call us and let you know what's going on.

     2          The other reason we give that number to you is that now

     3   that you've been sworn in as jurors in this case, it's

     4   important that everybody arrive on time in the mornings or

     5   after breaks because we can't get started if somebody is

     6   missing.    If someone is missing, everybody has to wait for that

     7   person to arrive into the courtroom.        So it's important that

     8   everyone arrives on time.

     9          At the same time, I want to also tell you that we are also

    10   going to respect your time as well.       And we are going to

    11   do everything -- the lawyers and I are going to do everything

    12   we can to make sure we start on time, that the breaks stay on

    13   schedule so we don't waste any of your time.

    14          Having made that commitment, sometimes it works

    15   beautifully.    Other times it doesn't work so well.       But you

    16   need to know that the lawyers and I are doing everything we can

    17   to keep the trial going smoothly.

    18          If at any point in time you have difficulty hearing me,

    19   later on hearing the lawyers or hearing a witness or you are

    20   having difficulty seeing something that's being presented on

    21   one of the screens, please do something to get my attention.

    22          I'm usually looking around the courtroom.        If you raise

    23   your hand or put your hand by your ear, I'll be looking around

    24   so that I make sure that everybody sees and hears everything

    25   that goes on during the case.




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     1           At this point in time, I'm going to ask some basic

     2   questions of everyone as a group.       If the answer is yes to any

     3   question that I ask you, please raise your hand.

     4           Ms. Hernandez will give you a microphone.       Tell me your

     5   name.    Give me a moment to find you on my list, and I'll follow

     6   up with whatever the "yes" answer may be.

     7           The parties have estimated this case will take

     8   approximately four to five days.       So basically we will go

     9   Thursday, Friday, Tuesday, Wednesday, Thursday.         By Thursday,

    10   the case should be submitted to you for your deliberations.            So

    11   that would be next Thursday.       We don't have court on Mondays.

    12   And typically our schedule during the trial is 9:00 to 12:00

    13   and 1:30 to 4:30.

    14           Now that I've given you the schedule of the case taking a

    15   little less -- about five days or less, does anyone in the

    16   audience have an extreme, extraordinary hardship in staying for

    17   this case for that limited period of time?         Please raise your

    18   hand if you do.

    19           If I can have your name, please.

    20                PROSPECTIVE JUROR:     Jamie Weber.

    21                THE COURT:    Okay.   Ms. Weber?

    22                PROSPECTIVE JUROR:     I help take care of my mom who

    23   is disabled, and this cuts into the time I take care of her

    24   after work on Tuesdays and Wednesdays.        And I won't be able to

    25   get home to help her in time.




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     1                THE COURT:    What time do you usually get home from

     2   work?

     3                PROSPECTIVE JUROR:     About 5:00.

     4                THE COURT:    So you are out in Ventura.     So you are

     5   worried that, if we stop at 4:30, you won't get home by 5:00.

     6   Okay.    Thank you.

     7           Anybody else?

     8           At this point in time, I'm going to ask counsel to

     9   introduce themselves to the jurors and the persons also at

    10   their table.

    11                MR. CLOSE:    Good morning.    My name is Matthew Close.

    12   With me is Lara Giese, James Goldstein, and Dimitri Portnoi.

    13                THE COURT:    Thank you.

    14                MR. ONSTOT:    Good morning.    My name is

    15   Stephen Onstot, and at counsel table with me is June Ailin and

    16   Jeff Malawy.    And behind me is Margaret Rose, Lara Leitner, and

    17   John Raymond with the City of Carson.

    18                THE COURT:    Mr. Close?

    19                MR. CLOSE:    I would also like to introduce my

    20   colleague Thomas Casparian that's sitting out there.

    21                THE COURT:    There's a couple reasons why I introduce

    22   everybody at the outset, including myself.        You may see us out

    23   in the hallway.     You may see us down in the cafeteria.       You may

    24   see us in the elevator.      And all of us are going to treat you

    25   as if you don't exist.      We are not going to acknowledge your




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     1   smiles.     We are not going to respond "good morning," nothing.

     2          And nobody is being rude to you.      Everybody is simply

     3   following my instruction that no one is to have any contact

     4   with you.      So even if you are polite and say "good morning" or

     5   "are we on time" or whatever, they are just going to ignore

     6   you.   Again, no one is being rude.      They are simply following

     7   my instruction.

     8          Also, now that you've been introduced to everyone involved

     9   in the trial, do any of you know anyone or recognize the names

    10   of anyone?      Please raise your hands if you do.

    11          Okay.    In the back row?

    12                  PROSPECTIVE JUROR:   Evany Perkins.

    13                  THE COURT:   Who do you recognize?

    14                  PROSPECTIVE JUROR:   Mr. Goldstein.

    15                  THE COURT:   If you would come over to sidebar to

    16   discuss it along with the lawyers.

    17                  (The following was held at sidebar.)

    18                  THE COURT:   How do you know Mr. Goldstein?

    19                  PROSPECTIVE JUROR:   I am an avid sports fan and know

    20   that he is as well.      I actually follow him on Instagram and

    21   Facebook.      I don't know him personally, but I recognize him

    22   from --

    23                  THE COURT:   Is it a blog?

    24                  PROSPECTIVE JUROR:   Social media.

    25                  THE COURT:   Social media?




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     1                PROSPECTIVE JUROR:     Yes.    But not personal.

     2                THE COURT:    What kinds of sports?

     3                PROSPECTIVE JUROR:     Lakers, basketball, NBA.

     4                THE COURT:    Like Byron Scott got fired, who is going

     5   to be the new coach, things like that?

     6                PROSPECTIVE JUROR:     No.    I just know that he is an

     7   avid basketball fan because I follow him.         And he is also a

     8   designer, and I had some work with models and designing.          So

     9   I'm just familiar with some of his work.

    10                THE COURT:    Have you ever met him personally?

    11                PROSPECTIVE JUROR:     I have not.

    12                THE COURT:    Anything about what you've read or

    13   interacted with him in social media that would prevent you from

    14   being fair in this case?

    15                PROSPECTIVE JUROR:     No, sir.

    16                THE COURT:    What I mean by "fair" is you are not

    17   going to favor Mr. Goldstein because you are both avid

    18   basketball fans.

    19                PROSPECTIVE JUROR:     No, sir.

    20                THE COURT:    Or you are not going to favor him

    21   because of what he's written about the Lakers?

    22                PROSPECTIVE JUROR:     No, sir.

    23                THE COURT:    Okay.   Thank you.

    24                (The following was held in open court.)

    25                THE COURT:    Did I miss anyone else in the audience?




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     1   Any of the persons we introduced?       No other hands have been

     2   raised.

     3          The following witnesses may be called during the course of

     4   this trial:    James Goldstein, Noelle Stephens, Rob Detling,

     5   Peter A. Salomon, Kenneth Baar, James Brabant, John Ellis,

     6   Kenneth Freschauf, Doug Danny, Mark Hansen, Ann James,

     7   Matt Crow.

     8          Do any of the prospective jurors recognize any of the

     9   names of the witnesses that I have just identified?          Please

    10   raise your hand if you do.      I don't see any hands.

    11          This is a brief statement about this case.        Plaintiff,

    12   Colony Cove Property, owns a mobile home park in the City of

    13   Carson that is subject to rent control.        This means that the

    14   defendants, the City and its Rental Review Board, decide how

    15   much monthly rent Colony Cove can charge.

    16          Colony Cove claims that shortly after it purchased the

    17   mobile home park, the City revised its rent control guidelines

    18   and then did not allow Colony Cove to charge enough rent to pay

    19   its monthly mortgage and other operating expenses.

    20          Colony Cove argues that these rent decisions constituted a

    21   taking of its property without just compensation in violation

    22   of the Fifth Amendment to the United States Constitution and

    23   Title 42 United States Code Section 1983.

    24          The City and the Rental Review Board deny this claim.           The

    25   City and the Rental Review Board contend that the rent rules




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     1   never guaranteed the consideration of mortgage interest

     2   payments or guaranteed any rent increases.

     3          The City also contends that in the years prior to

     4   Colony Cove's purchase, rent increases requests by several

     5   other mobile home park owners who sought rent increases to

     6   cover mortgage interest were denied.        Therefore, the City

     7   contends it was unreasonable for Colony Cove to expect a large

     8   rent increase to cover mortgage interest.

     9          Now that I've read a brief statement of the case, has

    10   anyone heard anything about this case or know anything about

    11   this case?    Please raise your hand if you do.

    12          The gentleman in the back row.

    13                PROSPECTIVE JUROR:     Christopher Lofland.

    14                THE COURT:    One moment.   Okay, Mr. Lofland, how do

    15   you know about this case?

    16                PROSPECTIVE JUROR:     I believe this was covered on

    17   the news a few months ago.

    18                THE COURT:    It was --

    19                PROSPECTIVE JUROR:     I believe it was covered on the

    20   news a few months ago.

    21                THE COURT:    And do you remember, was it on TV,

    22   was it in the newspaper?

    23                PROSPECTIVE JUROR:     It was on television.

    24                THE COURT:    It was on television.     And do you

    25   remember what network it was on?




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     1                PROSPECTIVE JUROR:     Honestly I don't.

     2                THE COURT:    Did you watch the story about it?

     3                PROSPECTIVE JUROR:     I briefly -- I watched the story

     4   for -- it was about a minute run I believe they had on it.

     5                THE COURT:    It was --

     6                PROSPECTIVE JUROR:     It was about a minute run the

     7   news had on it.

     8                THE COURT:    Okay.   After seeing what you saw, did

     9   you form any opinions about the dispute?

    10                PROSPECTIVE JUROR:     Not at that point.

    11                THE COURT:    Okay.   At any point after?

    12                PROSPECTIVE JUROR:     Never really thought about it.

    13   It just sounded familiar once it was brought up here.

    14                THE COURT:    Okay.   Is there anything about what you

    15   saw during that news story that would prevent you from being

    16   fair to both sides?

    17                PROSPECTIVE JUROR:     I don't think there is.

    18                THE COURT:    All right.   Thank you.

    19          Anyone else?

    20          We will now begin selecting the jury.       In the trial of

    21   this case, each side is entitled to have a fair, unbiased, and

    22   unprejudiced jury.      The purpose of the jury is to find and

    23   determine the facts.

    24          Under our system of justice, you are the sole judges of

    25   the facts.    The goal of jury selection is to choose jurors who




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     1   can be fair and impartial to both sides in this case and who

     2   will be able to decide the questions presented to them based

     3   solely on the evidence presented during the course of the

     4   trial.

     5           If there's any fact or any reason why any of you might be

     6   biased or prejudiced in any way, you must disclose those facts

     7   or reasons when you are asked to do so.        It is your duty to

     8   make such a disclosure.

     9           During jury selection, the Court will ask you about your

    10   background, experience, your state of mind to help us determine

    11   whether or not you are qualified to be a juror in this case.

    12   Qualified simply means that you will be a fair and impartial

    13   juror and that you can decide the case based on the evidence

    14   presented in the courtroom and on nothing else.

    15           There's no such thing as a right or a wrong answer.

    16   Answers are only complete or incomplete.

    17           At this point I'm going to ask Ms. Hernandez to call the

    18   first 14 jurors into the jury box.       When your name is called,

    19   take a seat into the jury box.       The first person called will

    20   take a seat in Seat No. 1 which is the back row closest to the

    21   audience.    Then the jurors will fill in in the seats behind

    22   them.    The ninth juror will take a seat in the front row

    23   closest to the audience, filling in the following jurors until

    24   the 14th seat.

    25                PROSPECTIVE JUROR:     Can you please repeat that?




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     1                  THE COURT:   I will in a sec.

     2          Again, the jurors will sit in the jury box that are

     3   called.    The first person called sits in Seat No. 1 filling in

     4   to Seat No. 8.     The ninth person called will sit in the front

     5   row sitting in Seat No. 14.

     6          Basically all the pressure is on the first person called

     7   because you are going to sit in Seat No. 1.          Then after that,

     8   just follow the next juror and sit next to them.          If there's a

     9   confusion, we'll sort it out.       Don't worry about it.

    10          Okay.    Ms. Hernandez?

    11                  THE CLERK:   Cristine Rodriguez Espinoza,

    12   Edna Sofia Dahinten, Evany Joy Perkins, Christopher Lofland,

    13   Niloufar Behrouzvazeri, last name B-e-h-r-o-u-z-v-a-z-e-r-i,

    14   Allie Perison.

    15                  THE COURT:   Hold on one second.   Okay.

    16                  THE CLERK:   Nia Armstrong, Peggy Phillips,

    17   Nancy Elizabeth Gama.

    18                  THE COURT:   Hold on.   No, no, no.    That seat.

    19                  PROSPECTIVE JUROR #8:   Oh, sorry.

    20                  THE COURT:   You are Ms. Phillips; correct?

    21                  PROSPECTIVE JUROR #8:   Yes.

    22                  THE COURT:   Okay.   Thank you.

    23          Go ahead.

    24                  THE CLERK:   Peggy Alvarez, Samuel Albert Sousa,

    25   Peter Tompkins, Devin Michael Bunten, Yonghwa Lee.




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     1                 THE COURT:    Welcome to the jury box.

     2          To the jurors sitting out in the audience, please pay

     3   close attention to the questions that I ask and the answers

     4   that are given because it will be very likely that you are

     5   called to sit in and substitute in for one of the jurors

     6   sitting in the jury box, and you are going to be asked the same

     7   identical questions.       So as you are sitting back there, think

     8   about what your answers to the questions would be.

     9          Also, if -- none of my questions are intended to pry into

    10   any of your personal lives.      But some of the questions may, in

    11   fact, be personal to you.       If you believe that blurting out the

    12   answer in open court is something you don't want to do, just

    13   let me know and we'll go to sidebar like we did a few minutes

    14   earlier with the lawyers and discuss whatever the answer may

    15   be.

    16          I'm going to ask the juror in Seat No. 1 -- you've been

    17   given a slip of paper.      If you would answer the questions on

    18   the slip of paper for us.

    19                 PROSPECTIVE JUROR #1:    My name is Cristine Rodriguez

    20   Espinoza.    I live in Compton.     I have an associates of science.

    21   I am divorced.     I have one child, three years old.      And I don't

    22   have any prior jury service.      And no ties to the legal system.

    23                 THE COURT:    What do you currently do, your

    24   occupation?

    25                 PROSPECTIVE JUROR #1:    I'm a cosmetologist.




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     1                THE COURT:    And you said you had an AA in science.

     2   Any particular specialty?

     3                PROSPECTIVE JUROR #1:      Respiratory therapy.

     4                THE COURT:    What's the occupation of your former

     5   spouse?

     6                PROSPECTIVE JUROR #1:      Truck driver.

     7                THE COURT:    Thank you.

     8          Juror in Seat No. 2?

     9                PROSPECTIVE JUROR #2:      My name is Edna Sofia

    10   Dahinten.    My area of residence is Tarzana, California.          I have

    11   a bachelor's degree in business management.          My employer is

    12   Aerojet Rocketdyne.     My occupation is senior executive

    13   assistant for the engineering department.          I'm married.    We

    14   have no children.     My husband's occupation is information

    15   technology engineer.      And my prior jury service was criminal,

    16   and yes, they reached a verdict.

    17                THE COURT:    Was it one criminal case?

    18                PROSPECTIVE JUROR #2:      Yes.     Just one.

    19                THE COURT:    And what was the charge?

    20                PROSPECTIVE JUROR #2:      Theft.

    21                THE COURT:    It was a murder case?

    22                PROSPECTIVE JUROR #2:      It's been 15 years.       I don't

    23   remember well.

    24                THE COURT:    But it was criminal?

    25                PROSPECTIVE JUROR #2:      Yeah.    And at work we have a




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     1   legal department.     So there's lawyers.

     2                 THE COURT:   Do you interact with the legal

     3   department?

     4                 PROSPECTIVE JUROR #2:    Yes.

     5                 THE COURT:   Tell me how.

     6                 PROSPECTIVE JUROR #2:    IP, information -- you know,

     7   the IP.

     8                 THE COURT:   As an engineer, you are developing works

     9   that -- meaning copyright?

    10                 PROSPECTIVE JUROR #2:    Yes.

    11                 THE COURT:   What kind of works do you --

    12                 PROSPECTIVE JUROR #2:    I'm in the engineering

    13   department.    So we work with rocket science.

    14                 THE COURT:   And then the work that you do with the

    15   lawyers is giving them information so they can apply for

    16   copyright protection?

    17                 PROSPECTIVE JUROR #2:    Yes.

    18                 THE COURT:   Or patent protection?

    19                 PROSPECTIVE JUROR #2:    It's my boss, but I do all

    20   the administrative.

    21                 THE COURT:   And have any of the patents ever been --

    22   or copyrights, have they ever gone to court?

    23                 PROSPECTIVE JUROR #2:    Not that I know of.     That,

    24   I'm not involved.

    25                 THE COURT:   But the only interaction that you've had




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     1   with the legal department is basically with patent or copyright

     2   applications?

     3                 PROSPECTIVE JUROR #2:     Yes.

     4                 THE COURT:   You mentioned your husband is in

     5   information technology.      Is it for any particular sector or

     6   kind of business or government?

     7                 PROSPECTIVE JUROR #2:     No.    It's basically he's a

     8   contractor, and it's for studios.

     9                 THE COURT:   Music or movie studios?

    10                 PROSPECTIVE JUROR #2:     Movies.

    11                 THE COURT:   You told -- what's your degree in?

    12                 PROSPECTIVE JUROR #2:     Business management, a

    13   bachelor's in business management.

    14                 THE COURT:   Thank you.

    15          Juror in Seat No. 3.

    16                 PROSPECTIVE JUROR #3:     My name is Evany Perkins.      I

    17   live in Pasadena.     I have a bachelor's degree in business

    18   management.    I work for the Los Angeles Police Federal

    19   Credit Union.    I'm a vice president.        I'm single.   No children.

    20   No prior jury service.      And my ties would be to the LAPD.

    21                 THE COURT:   Are those because they are customers?

    22                 PROSPECTIVE JUROR #3:     They are members, and they

    23   are also on our board of directors.

    24                 THE COURT:   As a vice president at the credit union,

    25   tell me about the kind work that you do.




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     1                 PROSPECTIVE JUROR #3:    I oversee our branch

     2   operations.    I'm responsible for our branches, our call center,

     3   and the processing of deceased claims, levies, subpoenas, and

     4   trust accounts.

     5                 THE COURT:   Do -- has any of your work involved

     6   loans?

     7                 PROSPECTIVE JUROR #3:    My staff does do loans.     I'm

     8   not responsible for the loan department, but my staff does

     9   handle loans.

    10                 THE COURT:   At some point did you work your way

    11   through the loan department?

    12                 PROSPECTIVE JUROR #3:    No.    I just have some

    13   training associated with it.

    14                 THE COURT:   Tell me a little about your training as

    15   it relates to mortgages.

    16                 PROSPECTIVE JUROR #3:    As it relates to mortgages,

    17   the only thing that my teams and I are responsible for is

    18   assisting members with submitting their mortgage loan

    19   applications.     You have to have certain licensing in order to

    20   speak in depth about mortgage loans.         So we don't handle it to

    21   that point.

    22          And the only other side would be that we notarize

    23   documents associated with mortgage loans.

    24                 THE COURT:   Then most of the loans that are

    25   processed at the credit union, most of them are residential?




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     1                PROSPECTIVE JUROR #3:      Most of them are, yes.

     2                THE COURT:    Do you do any commercial lending?

     3                PROSPECTIVE JUROR #3:      Very few.

     4                THE COURT:    Have you ever been involved in any kind

     5   of commercial lending transactions?

     6                PROSPECTIVE JUROR #3:      No, sir.

     7                THE COURT:    What types of commercial lending is done

     8   at the credit union, if you know?

     9                PROSPECTIVE JUROR #3:      There have been a couple of

    10   apartment buildings and, I believe, a strip mall type of

    11   property.

    12                THE COURT:    But you didn't work directly on either

    13   of those projects?

    14                PROSPECTIVE JUROR #3:      No, sir.

    15                THE COURT:    All right.    Thank you.

    16                PROSPECTIVE JUROR #4:      My name is Chris Lofland.      I

    17   live in Castaic, California.      High school education.      I work in

    18   the motion picture industry doing construction.         I'm married.

    19   Let's see.    My wife, she was a schoolteacher.       I have three

    20   children, 18, 20, and 25.      No prior jury service.     And no ties

    21   with any of the legal system.

    22                THE COURT:    What did your wife teach?

    23                PROSPECTIVE JUROR #4:      She taught elementary and

    24   middle school.

    25                THE COURT:    Working back, what are the 25, 20, and




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     1   18 year olds doing?

     2                PROSPECTIVE JUROR #4:      The 18 year old is not doing

     3   much right now.     The 20 year old is doing the same work I do,

     4   construction in the studios.      And the 25 year old is a sailor

     5   in the Navy.

     6                THE COURT:    How long has he been in the Navy?

     7                PROSPECTIVE JUROR #4:      Three years.

     8                THE COURT:    All right.    Thank you.

     9                PROSPECTIVE JUROR #5:      My name is

    10   Niloufar Behrouzvazeri.      I live in Reseda.     I have my

    11   high school diploma and some college.          I'm an esthetician.     I'm

    12   single, and no prior jury service.

    13                THE COURT:    Any ties to the legal system?

    14                PROSPECTIVE JUROR #5:      No.

    15                THE COURT:    What types of classes did you take?         You

    16   said you took some college.      Just general ed?

    17                PROSPECTIVE JUROR #5:      Just prerequisites, yeah.

    18                THE COURT:    Can I follow up with juror in seat

    19   No. 2?   I forgot to follow up on a question.

    20                PROSPECTIVE JUROR #2:      Yes.

    21                THE COURT:    You mentioned you have a degree in

    22   business management?

    23                PROSPECTIVE JUROR #2:      Yes.

    24                THE COURT:    Did you take any coursework as it

    25   related to real estate or mortgages or anything like that?




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     1                PROSPECTIVE JUROR #2:      No.

     2                THE COURT:    All right.    Do you have any expertise in

     3   real estate or mortgages or things like that?

     4                PROSPECTIVE JUROR #2:      No.

     5                THE COURT:    Thank you.    Go ahead and pass it on to

     6   juror in Seat No. 6.

     7                PROSPECTIVE JUROR #6:      I'm Allison Perison.    I live

     8   in the Pico/Robertson area.      I have a bachelor in communication

     9   arts with a focus in film and television.        I'm single.    I work

    10   as an assistant at Creative Arts Agency.        I have no prior jury

    11   service, and my dad is a lawyer.

    12                THE COURT:    What do you do as an assistant?

    13                PROSPECTIVE JUROR #6:      All sorts of stuff.

    14                THE COURT:    Whatever is needed?

    15                PROSPECTIVE JUROR #6:      Yes.   A lot of meetings,

    16   client servicing, things like that.

    17                THE COURT:    All right.    What type of law does your

    18   dad practice?

    19                PROSPECTIVE JUROR #6:      He works at a home builder

    20   for D.R. Horton.     He's a risk manager.

    21                THE COURT:    All right.    Thank you.

    22                PROSPECTIVE JUROR #7:      My name is Nia Armstrong.      I

    23   live in Los Angeles.      I have a bachelor's of science degree in

    24   health education.     I'm single.    The adults living in the house

    25   is both retired.     One is an ultrasound technician and the other




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     1   is a supervisor for Los Angeles Unified School District.           No

     2   children.    Prior jury service, criminal.       It was felony murder.

     3           Occupation -- my occupation, I work for Department of

     4   Insurance.    I'm a compliance officer in the consumer

     5   communications bureau.      And ties to the legal system, my

     6   brother is a --

     7                THE COURT:    Slow down.    Back up to -- I broke down

     8   after you told me what you did with the Department of

     9   Insurance.    I'll follow up.      Then I'll follow up to make sure I

    10   heard everything.

    11           After you told me that you worked for the Department of

    12   Insurance -- doing what?

    13                PROSPECTIVE JUROR #7:      I'm a compliance officer in

    14   the consumer communications bureau.

    15                THE COURT:    Okay.    Then any ties to the legal field?

    16                PROSPECTIVE JUROR #7:      No.    I don't deal with

    17   anybody in our legal department.

    18                THE COURT:    So you were a juror on one case?

    19                PROSPECTIVE JUROR #7:      It was a criminal case.     It

    20   was a felony murder.

    21                THE COURT:    Right.    Did that jury reach a verdict?

    22                PROSPECTIVE JUROR #7:      No.

    23                THE COURT:    Did you actually deliberate on that

    24   case?

    25                PROSPECTIVE JUROR #7:      Yes.




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     1                 THE COURT:   So it was a hung jury?

     2                 PROSPECTIVE JUROR #7:     Yes.

     3                 THE COURT:   Okay.   How long ago was that?

     4                 PROSPECTIVE JUROR #7:     That was in 2006,

     5   October 2006.

     6                 THE COURT:   What do you do -- what does a compliance

     7   officer do?    Tell me about your work.

     8                 PROSPECTIVE JUROR #7:     We deal more with the

     9   consumers, and we try to resolve any issues they may have with

    10   their insurance companies, brokers or agents.         And that's

    11   dealing with 21 lines of insurance.

    12                 THE COURT:   So like issues with like pricing or --

    13                 PROSPECTIVE JUROR #7:     Pricing, claims --

    14                 THE COURT:   Claims handling?

    15                 PROSPECTIVE JUROR #7:     Claims handling, underwriting

    16   practices.     We don't determine liability.       We just review the

    17   files and make sure they didn't violate any codes or

    18   regulations.

    19                 THE COURT:   You mentioned you are living with two

    20   adults, both are retired.

    21                 PROSPECTIVE JUROR #7:     Retired.

    22                 THE COURT:   One was a supervisor at LAUSD.

    23                 PROSPECTIVE JUROR #7:     The other one was an

    24   ultrasound technician at Kaiser.

    25                 THE COURT:   All right.    Thank you.




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     1                PROSPECTIVE JUROR #8:     I'm Peggy Phillips.     I live

     2   in Los Angeles.     I have a bachelor degree in design and

     3   merchandising.     I work for Giorgio Armani.     I'm a senior

     4   manager.    I'm married.    No kids.   No prior jury service.     And

     5   no tie with the legal system.

     6                THE COURT:    Tell me about your work as a senior

     7   manager.

     8                PROSPECTIVE JUROR #8:     I work in a retail

     9   environment shop.

    10                THE COURT:    Okay.   Thank you.   If you can pass the

    11   microphone to juror in Seat No. 9.

    12                PROSPECTIVE JUROR #9:     My name is Nancy Gama.     I

    13   live in La Puente.     My highest education is Northwest College.

    14   It's a private college.      I work at MV Medical.     My occupation

    15   is claims examiner.     My marital status is single.

    16                THE REPORTER:    Could you speak up, please.

    17                PROSPECTIVE JUROR #9:     My name is Nancy Gama.     I

    18   live in La Puente.     Highest education degree is Northwest

    19   College.    It's a private college.     My employer is MV Medical.

    20   My occupation is claims examiner.       Marital status is single.

    21   Occupation living with me is my child, ten years old, a

    22   student.    And I have no entities with -- I haven't served as a

    23   jury before.

    24                THE COURT:    No prior jury service?

    25                PROSPECTIVE JUROR #9:     No.




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     1                 THE COURT:   I think you said you are a claims

     2   examiner?

     3                 PROSPECTIVE JUROR #9:     Yes.

     4                 THE COURT:   Tell me about your work.

     5                 PROSPECTIVE JUROR #9:     I just process claims, like

     6   medical claims, for --

     7                 THE COURT:   For reimbursement?

     8                 PROSPECTIVE JUROR #9:     Yeah.

     9                 THE COURT:   And you took some college.     Was it just

    10   general ed?

    11                 PROSPECTIVE JUROR #9:     It was for medical billing.

    12                 THE COURT:   Thank you.

    13                 PROSPECTIVE JUROR #10:     My name is Peggy Alvarez.      I

    14   live in Monterey Park, high school graduate.         I have two jobs.

    15   One is an office manager for a clothing manufacturer, and one

    16   is working down at Music Center on the evenings and weekends.

    17          I am married.    My husband is a playwright.      I have been

    18   jury duty for civil and criminal.       And legal system, my father

    19   was a police officer.

    20                 THE COURT:   Okay.   How many criminal cases did you

    21   work on?

    22                 PROSPECTIVE JUROR #10:     You know, I've been on

    23   juries probably about five or six times, and male prostitution,

    24   workers' comp, there was murder.        Most of them are -- you know,

    25   were dropped due to deciding out of court.




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     1                 THE COURT:    Let me ask about the ones -- did you

     2   work on any you actually deliberated?

     3                 PROSPECTIVE JUROR #10:     Yeah.   The male prostitution

     4   and the workers' comp.

     5                 THE COURT:    The prostitution case, did that jury

     6   reach a verdict?

     7                 PROSPECTIVE JUROR #10:     Yes.

     8                 THE COURT:    The workers' comp, was that a civil

     9   case?

    10                 PROSPECTIVE JUROR #10:     Yes.

    11                 THE COURT:    Did that jury reach a verdict?

    12                 PROSPECTIVE JUROR #10:     Yes.

    13                 THE COURT:    What do you do at the Music Center?

    14                 PROSPECTIVE JUROR #10:     I supervise the ushering

    15   staff at the Ahmanson Theatre.

    16                 THE COURT:    Your husband is a playwright.     Any

    17   particular genre he works on?

    18                 PROSPECTIVE JUROR #10:     History, he loves history.

    19                 THE COURT:    Thank you.

    20                 PROSPECTIVE JUROR #11:     My name is Samuel Sousa.       I

    21   live in Pico Rivera.       I'm a high school graduate currently

    22   going to college for my associates in child development.            I

    23   work in the fast food industry.       I'm single.    I'm living with

    24   my parents.    My mother works at a clothing store and reviews

    25   purchase orders, and my father is an interpreter for the DMV as




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     1   well as small claims court.

     2          I have no children.     This is my first time on a jury.        So

     3   no prior services.      And the only ties I would have would be my

     4   father being the interpreter.

     5                THE COURT:    After you get your AA in child

     6   development, do you have a particular interest after that once

     7   you have your AA?

     8                PROSPECTIVE JUROR #11:     Yes.   I hope to go into

     9   pediatric nursing and continue my education.

    10                THE COURT:    Thank you.

    11          Juror in seat 12.

    12                PROSPECTIVE JUROR #12:     My name is Peter Tompkins.

    13   I live in Malibu.      I have a bachelor's degree in engineering

    14   and also an MBA.      I'm retired after 32 years with Citigroup.           I

    15   was a vice president both in the technology group and later in

    16   the marketing group.

    17          I'm married.    My wife is also retired.     She was also a

    18   computer programmer until she was laid off during one of the

    19   downturns.    And then she turned to full time managing our

    20   real estate investments.

    21          My brother also lives with us.      He's a car salesman.        I

    22   have a 32-year-old boy who is an EMT in Boston.

    23          I've been on a couple of juries, the most recent was

    24   probably 15 years ago.      It was a civil case.     And then I was an

    25   alternate on a jury probably ten years before that that was




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     1   also a civil case.     And if I was on any others, I don't

     2   remember.

     3                THE COURT:    The civil case that you actually were

     4   on, did that jury reach a verdict?

     5                PROSPECTIVE JUROR #12:     It reached a verdict.

     6                THE COURT:    Generally, what that was case about?

     7                PROSPECTIVE JUROR #12:     It was a person -- it was a

     8   relatively well-known person whose image was being used, and he

     9   was suing the person who used his image, copyright or whatever.

    10                THE COURT:    And you have an MBA?

    11                PROSPECTIVE JUROR #12:     Yes.

    12                THE COURT:    Any particular specialty that you worked

    13   on when you were getting your MBA?

    14                PROSPECTIVE JUROR #12:     No.

    15                THE COURT:    So when you worked for Citigroup through

    16   your -- you said 32 years?

    17                PROSPECTIVE JUROR #12:     Yes, sir.

    18                THE COURT:    Were you ever involved in mortgage

    19   lending?

    20                PROSPECTIVE JUROR #12:     I was never involved in

    21   mortgage lending, no.

    22                THE COURT:    Do you have any expertise in mortgage

    23   lending?

    24                PROSPECTIVE JUROR #12:     I have a half a dozen

    25   commercial loans on the real estate we own.         So yes.




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     1                THE COURT:    That's what I was going to ask you next

     2   about.   You talked about real estate holdings --

     3                PROSPECTIVE JUROR #12:     We own six rental

     4   properties, about 75 units.

     5                THE COURT:    All six together, if you combined them,

     6   would be 75 units?

     7                PROSPECTIVE JUROR #12:     That's correct.

     8                THE COURT:    What cities are the properties located

     9   in?

    10                PROSPECTIVE JUROR #12:     A small one is in Topanga

    11   which is unincorporated LA County.       The other five buildings

    12   are all in Venice which is part of the City of Los Angeles.

    13                THE COURT:    Are they all rental housing units?

    14                PROSPECTIVE JUROR #12:     They are all together 9- to

    15   12-unit buildings in the Los Angeles, and the one in Topanga is

    16   a mixed use, house and commercial.

    17                THE COURT:    The City of Los Angeles has rent

    18   control?

    19                PROSPECTIVE JUROR #12:     It sure does.

    20                THE COURT:    So how long have you had the apartments

    21   in Venice?    Over what time period?

    22                PROSPECTIVE JUROR #12:     The first one my wife bought

    23   in 1990.

    24                THE COURT:    The last one --

    25                PROSPECTIVE JUROR #12:     The most recent in Venice




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     1   was in 2005.    The Topanga one we bought about a year ago.

     2                THE COURT:    And Topanga you said was unincorporated?

     3                PROSPECTIVE JUROR #12:     Topanga is unincorporated,

     4   not rent controlled.

     5                THE COURT:    Okay.

     6                PROSPECTIVE JUROR #12:     If that's where you are

     7   going.

     8                THE COURT:    Well, I want to know what your

     9   experience is -- have you ever had -- I'm not sure how the City

    10   of Los Angeles works.      So the questions may be a little vague.

    11          So in the city, you are -- talking about your Venice

    12   properties, if you want to increase the rent, what is the

    13   process you go through?

    14                PROSPECTIVE JUROR #12:     So there are three or four

    15   different processes.      There's an annual increase that we are

    16   entitled to.    The City sets a percentage, and we can increase

    17   all the rents by that percentage.

    18          If a tenant voluntarily vacates or is evicted for

    19   nonpayment of rent through an unlawful detainer, we can raise

    20   the rent to whatever the market will bear, you know, part of

    21   the Costa-Hawkins Bill, whatever it was 15, 20 years ago.

    22          We can also request an increase for capital improvements.

    23   There's a process through the City that keeps changing, and I'm

    24   not real familiar with it because we have a management company

    25   that's been handling that for us.




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     1                THE COURT:    So if you needed, let's say, earthquake

     2   retrofit, that would be --

     3                PROSPECTIVE JUROR #12:      Earthquake retrofit, which

     4   funny you should mention that, that's coming up --

     5                THE COURT:    Well, it's been in the news.

     6                PROSPECTIVE JUROR #12:      -- that's coming up here any

     7   year now.

     8                THE COURT:    Right.

     9                PROSPECTIVE JUROR #12:      They haven't really

    10   identified the process for that, but I assume it will be

    11   similar to any other capital improvement that we can identify

    12   how much it's going to cost and we pass it through.

    13          In the case of the earthquake retrofit, I believe we can

    14   pass through half of it spread over ten years, and we are the

    15   bank for ten years.

    16                THE COURT:    Have you ever been in the process -- one

    17   of the scenarios you discussed was then you can charge what the

    18   market will bear.

    19                PROSPECTIVE JUROR #12:      Correct.

    20                THE COURT:    Have you ever -- and have you ever gone

    21   through that process of renting out a unit and determining what

    22   the market will bear?

    23                PROSPECTIVE JUROR #12:      Always, yeah.

    24                THE COURT:    Okay.    So are there ever disputes

    25   between the City and you, as an owner, as to a disagreement as




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     1   to what the market will bear?

     2                 PROSPECTIVE JUROR #12:    No.     I'm sorry.   You

     3   probably misunderstood my intent.       By what the market will

     4   bear, I mean we can advertise and rent it for any price we can

     5   get.

     6                 THE COURT:   Okay.   So there's no regulation --

     7                 PROSPECTIVE JUROR #12:    The City is not involved in

     8   that.

     9                 THE COURT:   Okay.   So --

    10                 PROSPECTIVE JUROR #12:    It really is the market, not

    11   the City.

    12                 THE COURT:   Yeah.   So you'll do a survey or whatever

    13   or talk to land owners --

    14                 PROSPECTIVE JUROR #12:    We'll put it on the market,

    15   and if it doesn't rent, lower the price.         If it does rent, we

    16   weren't asking enough.

    17                 THE COURT:   Okay.   All right.

    18                 PROSPECTIVE JUROR #12:    And the last question there

    19   about lawyers, I have a number of lawyers as personal friends

    20   just through my contact within Malibu and through my contacts

    21   with actually the Center Theatre Group here that I'm a donor

    22   to.     And I've hired a number of lawyers over the years.

    23                 THE COURT:   Specifically unlawful --

    24                 PROSPECTIVE JUROR #12:    Unlawful detainers.        And we

    25   were involved in a workers' comp claim against us.           We had to




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     1   hire a lawyer for that.

     2                THE COURT:    I'm going to ask this question of the

     3   group later on, but since we are on the subject, do you have

     4   what you would view as strong feelings about rent control?

     5                PROSPECTIVE JUROR #12:     Yes.

     6                THE COURT:    Tell me what your feelings are.

     7                PROSPECTIVE JUROR #12:     I probably don't need to.      I

     8   think it's horrible.      I think it's -- you know, we almost lost

     9   some buildings because of it a number of years ago.          We've come

    10   out okay in the long run.      But it's -- I'm a free market kind

    11   of guy.

    12                THE COURT:    Okay.   So when you -- because you

    13   couldn't keep up with expenses, is that what you're saying,

    14   when you say lost buildings?

    15                PROSPECTIVE JUROR #12:     Yes, sir.    We didn't

    16   actually lose buildings, but we came close.         We had one in

    17   foreclosure, and we could not keep up with expenses, and we

    18   couldn't raise the rents.

    19          Let me go back, if I may, to the -- just for what it's

    20   worth, I'm also currently on the boards of a couple of

    21   nonprofits if that matters in the theater business.

    22                THE COURT:    In the theater business?

    23                PROSPECTIVE JUROR #12:     Yes.

    24                THE COURT:    The City Center --

    25                PROSPECTIVE JUROR #12:     And I'm also, you know, a




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     1   member -- I'm a commissioner on a very inactive commission in

     2   the city of Malibu, but it's probably relevant to this.          It's

     3   the Mobile Home Rent Stabilization Commission.         It hasn't met

     4   in probably 15 years, but I'm still on the books as a member of

     5   it.

     6                THE COURT:    What was the -- what was the last

     7   activity 15 years ago, what was their role?

     8                PROSPECTIVE JUROR #12:     It was the Paradise Cove

     9   owners were petitioning for a rent increase because the rents

    10   didn't cover their expenses.

    11                THE COURT:    What was your role as a board member?

    12                PROSPECTIVE JUROR #12:     I was a commissioner.     I was

    13   one of the five.

    14                THE COURT:    Did you ultimately make a decision as to

    15   what --

    16                PROSPECTIVE JUROR #12:     We made a decision.

    17                THE COURT:    Collectively?

    18                PROSPECTIVE JUROR #12:     Collectively, yes.

    19                THE COURT:    And the last time you did that was

    20   15 years ago?

    21                PROSPECTIVE JUROR #12:     At least, 15 or 20 years.

    22   It's been a long, long time.

    23                THE COURT:    Nothing since?

    24                PROSPECTIVE JUROR #12:     No.   There have been --

    25   there are two mobile home parks in Malibu.        And so there's not




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     1   a whole lot of opportunity for cases, and there haven't been

     2   any since then.

     3                THE COURT:    But you are still on the commission?

     4                PROSPECTIVE JUROR #12:     Yeah.   They still send me

     5   this form to fill -- it's a Form 700 to fill out every year,

     6   financial disclosure thing, so I must be.

     7                THE COURT:    Okay.   We've talked about a lot of your

     8   experiences and your feelings about rent control.         One of the

     9   things the jurors are going to hear me -- I think you've

    10   already heard me say a couple of times, can you be fair.          Can

    11   you be fair to --

    12                PROSPECTIVE JUROR #12:     I believe so.    I mean, I

    13   disagree with rent control, but I understand that it's the law,

    14   and I believe I can look at it -- I can look at it impartially

    15   based on what you tell us the law is.

    16                THE COURT:    That's exactly my point.     I'm going to

    17   explain what I mean by "fair" to everybody, all the jurors.

    18   And, again, throwing that phrase of "fair and impartial," "fair

    19   and impartial."     I keep saying it.

    20          But what I mean by fair and impartial you summarized quite

    21   nicely, actually, is that fair and impartial means that you are

    22   going to decide this case based on what you hear from the

    23   witness stand.     You are going to determine what the facts are

    24   based on what you see and hear in this courtroom and not based

    25   on life experiences or things that you've gone through.




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     1          And then the second thing is that, even if you disagree

     2   with it, you are going to follow the law that I instruct you on

     3   even though you may fundamentally disagree with the law.

     4          So, for example, let's say if this was a marijuana case

     5   and you thought marijuana should be legal, but you would still

     6   follow the law if this case was about marijuana.         So that kind

     7   of illustrates my point.

     8          So going back to Mr. Tompkins, can you be a fair and

     9   impartial juror to both sides in this case?

    10                PROSPECTIVE JUROR #12:     I believe I can, yes, sir.

    11                THE COURT:    Okay.   Then also too, just the last

    12   point I want to make on this topic is that, you know, we tell

    13   you to base your decision based on what happens in this case.

    14   But on the other hand, we are not telling you to leave your

    15   common sense in the hallway.       We are going to want your common

    16   sense in the courtroom.      But we want you to judge this case

    17   based on what you see and hear in the courtroom.

    18          All right.    Thank you.

    19          Juror in Seat No. 13.

    20                PROSPECTIVE JUROR #13:     My name is Devin Bunten.       I

    21   live in the Palms neighborhood of Los Angeles.         I will, in

    22   about six weeks, finish my Ph.D. at UCLA in economics.          And

    23   my -- I've been hired -- I haven't started working yet, but

    24   I've been hired by the Federal Reserve Board of Governors in

    25   DC.   I am single.    I live with an unmarried partner who is also




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     1   a student at UCLA.     No children.    I have not served on a jury.

     2          My ties to the legal system, I'm currently involved as an

     3   appellant in a case.       It's not -- it's currently before a

     4   zoning review board, not the technical legal system, about

     5   developer trying to add additional housing units in a complex.

     6          And I also interact with and discuss research with my --

     7   with some lawyers.     My research touches on topics of housing

     8   regulation.    And so I interact with them to hear what they

     9   think about my economic research.

    10                 THE COURT:    Okay.   So let's work -- what do you do

    11   at the Federal Reserve?

    12                 PROSPECTIVE JUROR #13:     I will be an economist in

    13   the consumer and business spending division.         The job will

    14   forecast -- go into forecasting housing market variables,

    15   forecasting how much housing investment, real estate investment

    16   there's going to be over the next year, coming years for the

    17   Board of Governors.

    18                 THE COURT:    Okay.   So how did you develop your

    19   expertise that you have in housing?       Tell me about your

    20   studies, your research, and your areas of expertise.

    21                 PROSPECTIVE JUROR #13:     Yes.   So I've been

    22   researching urban economics and housing markets at UCLA for

    23   almost six years now.      My research focuses -- my dissertation

    24   focuses on local land use regulations and other -- and other

    25   sort of housing market regulations that affect how much people




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     1   can build, that affect what prices they can set, and then sort

     2   of studying what the economic after effects of these laws may

     3   be.

     4                THE COURT:    Then you said you are -- tell me about

     5   your role as an appellant.

     6                PROSPECTIVE JUROR #13:      Yeah.   I am part of an

     7   organization, a new organization that's trying to find avenues

     8   in the political system to increase housing development in the

     9   area.    And we occasionally send letters in support of various

    10   new projects that are before zoning review boards.

    11           And after sending one letter, the project was denied.          And

    12   the folks who were trying -- the developer got in contact with

    13   me to try to appeal it to the next -- to the next level in the

    14   system.    They thought that it would be more -- you know, the

    15   people would be more excited about someone in the neighborhood

    16   being the sort of center of that appeal rather than the

    17   developer themselves.

    18           And so that -- so that has been pushed back a couple

    19   times, but it should be upcoming to go before the next level in

    20   the zoning appeals process.      Yeah.

    21                THE COURT:    It's still in the administrative

    22   process?    It's not in the court system?

    23                PROSPECTIVE JUROR #13:      It's not in the court system

    24   yet, that's right.

    25                THE COURT:    Do you see yourself -- there are




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     1   advocates -- do you -- in your role in terms of housing

     2   development, I don't want to pigeonhole you, but is there a

     3   label?   Is there like -- are you -- do you see what I'm getting

     4   at -- I'm trying to get at?

     5                PROSPECTIVE JUROR #13:      In terms of the advocacy?

     6                THE COURT:    Yes.    Like are you a pro --

     7                PROSPECTIVE JUROR #13:      Yeah.

     8                THE COURT:    I mean, all these election slogans we

     9   hear, I'm just trying to think, do you have a slant?

    10                PROSPECTIVE JUROR #13:      Yeah.   It's what's been

    11   called a YIMBY group.

    12                THE COURT:    What the heck is that?

    13                PROSPECTIVE JUROR #13:      The opposite of NIMBY.     So

    14   it's people who are willing to say yes in my backyard, I want

    15   more development in this area rather than the traditional no,

    16   not in my backyard.

    17                THE COURT:    So just a hypothetical, so if -- let's

    18   say a developer was proposing a high density condominium

    19   complex on a boulevard, and so you would say -- a NIMBY would

    20   say not in my backyard, it's going to destroy my view, it's

    21   going to congest the neighborhood.       You would be more likely to

    22   say build it?

    23                PROSPECTIVE JUROR #13:      That's right.

    24                THE COURT:    Okay.    Does any of your work in terms of

    25   housing, have you focused on -- so, for example, apartments,




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     1   availability of rent control, any of your research or your

     2   thoughts go into that area?

     3                PROSPECTIVE JUROR #13:     Yeah, not -- I haven't

     4   published anything on it yet.       But one of the topics I'm

     5   interested in researching is how living under a rent control

     6   ordinance can affect households' preferences for other sorts of

     7   regulations within the city.      For instance, how, if you live in

     8   a rent controlled unit, are you more or less likely to be in

     9   favor of other zoning restrictions that might affect use or

    10   future development.

    11                THE COURT:    So it's -- it's not necessarily on rent

    12   control but how -- let's say, if I live in a rent controlled

    13   apartment, how does that affect my view about the development

    14   of the high density condominium complex?

    15                PROSPECTIVE JUROR #13:     That's right.

    16                THE COURT:    But not necessarily on whether rent

    17   control is a good idea or a bad idea?

    18                PROSPECTIVE JUROR #13:     Yeah.   So the sort of

    19   outcome of that would be that affects my opinion about that new

    20   condo development and that affects the housing market as a

    21   whole.   And so yes, it would be studying sort of what the

    22   outcome variables are, you know, how much do house prices

    23   change, for instance, as a result of having rent control in the

    24   first place.

    25                THE COURT:    Do you have any expertise in the area




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     1   of, let's say, financing housing?

     2                 PROSPECTIVE JUROR #13:    Not a great deal, no.     I

     3   haven't studied the financing side of things.

     4                 THE COURT:   You have sort of a general understanding

     5   of methods of financing maybe just like everyone else would in

     6   terms of --

     7                 PROSPECTIVE JUROR #13:    Probably more than everyone

     8   else, but I don't have -- I haven't written a dissertation on

     9   it.

    10                 THE COURT:   Okay.   All right.   Do you have -- so if

    11   you are not going to spend your career at the Federal Reserve,

    12   what do you see yourself doing after spending some time at the

    13   Federal Reserve?

    14                 PROSPECTIVE JUROR #13:    Probably -- I mean, I'm

    15   interested in spending a career there.

    16                 THE COURT:   Okay.

    17                 PROSPECTIVE JUROR #13:    But also going into

    18   academia.

    19                 THE COURT:   All right.   Thank you.

    20          Juror in Seat No, 14.

    21                 PROSPECTIVE JUROR #14:    My name is Yonghwa Kim Lee.

    22   I'm living in Pasadena.      Highest education, degree, or

    23   training, I'm an MBA concentrating accounting.         I'm a CPA too.

    24   I'm working as a financial advisor for New York Life.

    25          I'm married.    My husband is a professor in a seminary.        I




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     1   have two children, one who is a medical doctor resident right

     2   now, and my daughter is a Ph.D. candidate in UCLA.

     3          I do not have prior jury service experience.        I'm tied to

     4   the legal system through my business.        I'm working with the

     5   estate lawyer for my clients.

     6                THE COURT:    Are you a lawyer?

     7                PROSPECTIVE JUROR #14:     No, I'm not.

     8                THE COURT:    You are working with lawyers for your

     9   clients?

    10                PROSPECTIVE JUROR #14:     Yeah, I'm working with the

    11   lawyer for my client.

    12                THE COURT:    Okay.   So tell me about your work at

    13   New York Life then.

    14                PROSPECTIVE JUROR #14:     I'm a financial advisor

    15   doing financial planning, retirement planning, estate planning

    16   with the client to find out their needs and then fill the gap

    17   between what they have currently and what they need.

    18                THE COURT:    So when you say you work with lawyers,

    19   are you working with lawyers, for example, on estate plans or

    20   how to hold properties or things like that?

    21                PROSPECTIVE JUROR #14:     Yes, planning for their

    22   trusts and revocable trusts, those types of things.

    23                THE COURT:    Do any of the -- as a financial advisor,

    24   do any of the investment vehicles that you are working with

    25   involve mortgages?




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     1                PROSPECTIVE JUROR #14:     Many my client has

     2   residential property which has a mortgage.        But I do not

     3   directly work relating to mortgage things.        Just finding out

     4   what they have.

     5                THE COURT:    Okay.   Do you have any particular

     6   expertise, let's say, in banking or housing?

     7                PROSPECTIVE JUROR #14:     I used to be a financial --

     8   a chief financial officer in a bank for 30 years, but I do not

     9   have any expertise in mortgage lending.

    10                THE COURT:    Okay.   And you mentioned -- I believe

    11   you said your daughter is a Ph.D. candidate?

    12                PROSPECTIVE JUROR #14:     Yes.

    13                THE COURT:    What is she studying?

    14                PROSPECTIVE JUROR #14:     Candidate for urban

    15   planning.

    16                THE COURT:    Do you ever talk about urban planning

    17   with her?

    18                PROSPECTIVE JUROR #14:     Not that much.

    19                THE COURT:    Okay.   All right.   Thank you.

    20          Just give me one moment.

    21          When all of you were sitting in the audience, I read you a

    22   brief statement about what this case is about.         Let me read it

    23   again, and then I want to ask you questions generally as a

    24   group.   If the answer is yes to any question that I ask, raise

    25   your hand, give me a moment to mark who said yes, and then I'll




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     1   follow up with whatever the yes answer would be.

     2          So, as I stated at the beginning of the process, this is

     3   what the case is about.      Plaintiff, Colony Cove Property, owns

     4   a mobile home park in the City of Carson that is subject to

     5   rent control.    This means that the defendants, the City and its

     6   Rental Review Board, decide how much monthly rent Colony Cove

     7   can charge.

     8          Colony Cove claims that shortly after it purchased the

     9   mobile home park, the City revised its rent control guidelines

    10   and then did not allow Colony Cove to charge enough rent to pay

    11   its monthly mortgage and other operating expenses.

    12          Colony Cove argues that these rent decisions constituted a

    13   taking of its property without just compensation in violation

    14   of the Fifth Amendment to the United States Constitution and

    15   Title 42, United States Code Section 1983.

    16          The City and the Rental Review Board deny this claim.           The

    17   City and the Rental Review Board contend that the rent rules

    18   never guaranteed the consideration of mortgage interest

    19   payments or guaranteed any rent increases.

    20          The City also contends that in the years prior to

    21   Colony Cove's purchase, rent increase requests by several other

    22   mobile home park owners who sought rental increases to cover

    23   mortgage interest were denied.       Therefore, the City contends it

    24   was unreasonable for Colony Cove to expect a large rent

    25   increase to cover mortgage interest.




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     1          Does anybody feel, just based on what I said this case is

     2   about -- does anyone feel at this point in time that they could

     3   not be fair and impartial to both sides?         Does anyone feel that

     4   way at this time?     Please raise your hand if you do.

     5          Okay.    I didn't see any hands raised.

     6          Have any of you ever been involved as a plaintiff or

     7   defendant in a lawsuit?

     8          Juror in Seat No. 12, you talked about some of it.

     9                  PROSPECTIVE JUROR #12:    I haven't, but my wife has.

    10   She's normally been the plaintiff in unlawful detainers.

    11                  THE COURT:   Okay.   Anybody else?

    12          Okay.    The gentleman behind you in Seat No. 4.

    13                  PROSPECTIVE JUROR #4:    Same thing with my wife over

    14   an Amtrak crash back in the nineties.

    15                  THE COURT:   Okay.   Thank you.

    16          Again, if the answer is yes, raise your hand.        Do any of

    17   you or any family members or people close to you live in the

    18   city of Carson?

    19          No hands have been raised.

    20          Do any of you or any family members or people close to you

    21   live in a mobile home park?

    22          Okay.    Juror in Seat No. 1, you raised your hand.

    23                  PROSPECTIVE JUROR #1:    My younger sister lives in a

    24   mobile home park.

    25                  THE COURT:   And where is that mobile home park




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     1   located?

     2                PROSPECTIVE JUROR #1:      In Compton.

     3                THE COURT:    And do you visit her at her house?

     4                PROSPECTIVE JUROR #1:      Yes.    It's about two blocks

     5   away from my house.

     6                THE COURT:    Have you ever talked to her about her

     7   relationship let's say with her landlord?

     8                PROSPECTIVE JUROR #1:      She has had a few issues here

     9   and there but nothing major.

    10                THE COURT:    What kinds of issues?

    11                PROSPECTIVE JUROR #1:      Just like fixing certain

    12   things in the house, and just -- he was like really -- wouldn't

    13   tell her -- wouldn't get back to her in time or he would send

    14   someone but when she was at school.

    15                THE COURT:    Okay.   Has she ever been involved in any

    16   disputes about rent?

    17                PROSPECTIVE JUROR #1:      When she asked him to fix the

    18   restroom sink --

    19                THE COURT:    Did she withhold rent?

    20                PROSPECTIVE JUROR #1:      No.    He said that he would,

    21   but then he didn't.

    22                THE COURT:    All right.    Anything about what happened

    23   to your sister that would prevent you from being fair in this

    24   case?

    25                PROSPECTIVE JUROR #1:      No.




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     1                  THE COURT:   All right.     Thank you.

     2          Did I miss anybody else?      No?    Okay.

     3          Do any of you or any family members or people close to you

     4   live in rent controlled housing?

     5          Okay.    Juror in Seat No. 13?

     6                  PROSPECTIVE JUROR #13:      I live in a rent controlled

     7   apartment in Los Angeles.

     8                  THE COURT:   Okay.   And have you lived in it while

     9   the time you were -- you moved in when you were a student?

    10                  PROSPECTIVE JUROR #13:      Yeah.

    11                  THE COURT:   And then are you going to leave to go to

    12   DC soon?

    13                  PROSPECTIVE JUROR #13:      My partner will still live

    14   there.

    15                  THE COURT:   Okay.   I was going to ask later on the

    16   group as a whole, but while I have you on the microphone, do

    17   you have any strong feelings about rent control?

    18                  PROSPECTIVE JUROR #13:      Yeah, I do.

    19                  THE COURT:   What are those feelings?

    20                  PROSPECTIVE JUROR #13:      I am strongly in favor.

    21                  THE COURT:   Of rent control?

    22                  PROSPECTIVE JUROR #13:      Yeah.

    23                  THE COURT:   Okay.   So we've heard two spectrums;

    24   right?   We've heard one juror say against rent control, not a

    25   surprise, and the other juror says he's for rent control.




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     1          Same question.       You heard me talk about the concept of

     2   fair and impartial.     Putting aside your personal beliefs and

     3   following what you think to be the law in this -- as I explain

     4   it to you, can you be a fair and impartial juror to both sides?

     5                  PROSPECTIVE JUROR #13:     Yeah, I think so.

     6                  THE COURT:    All right.   Thank you.

     7          Have any of you or any family members or people close to

     8   you ever had a dispute with a landlord?

     9          Okay.    No hands have been raised.

    10          Do any of you have any specialty or special knowledge

    11   about what rent control is?

    12          And juror in Seat No. 12, you raised your hand.        Anything

    13   other than we've already discussed?

    14                  PROSPECTIVE JUROR #12:     Nothing really other than

    15   what we've already discussed.

    16                  THE COURT:    Or anything new I should say?

    17                  PROSPECTIVE JUROR #12:     Nothing new.

    18                  THE COURT:    Okay.   Anyone else?

    19                  PROSPECTIVE JUROR #12:     I've been involved with it

    20   for -- obviously it's 30 years.

    21                  THE COURT:    Okay.   And juror in Seat No. 13, you

    22   raised your hand.

    23                  PROSPECTIVE JUROR #13:     It's sort of a commonly

    24   discussed topic in urban economics.        So I have got some special

    25   knowledge, I guess, of, you know, sort of what the empirical




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     1   evidence is on how it affects housing markets, how it affects

     2   tenants and investment.

     3                   THE COURT:   Thank you.

     4           We've already heard from one juror.         Does anyone else

     5   think that rent control is unfair to landlords?           Anyone else?

     6           All right.    No hands have been raised.

     7           Are you or any immediate family member landlords?

     8           All right.    Anyone else?

     9           Okay.    Juror in Seat No. 14, also Juror No. 12 raised his

    10   hand.    Go ahead, Juror 14.

    11                   PROSPECTIVE JUROR #14:     I have two four-unit

    12   apartments.

    13                   THE COURT:   Apartments?

    14                   PROSPECTIVE JUROR #14:     Yeah.

    15                   THE COURT:   Is it one property or separate

    16   properties?

    17                   PROSPECTIVE JUROR #14:     Two separate properties.

    18                   THE COURT:   Where are those properties located, what

    19   cities?

    20                   PROSPECTIVE JUROR #14:     One is Los Angeles -- both

    21   are Los Angeles.      One is close to the Olympic, the

    22   Miracle Mile.      One is in Korea Town.

    23                   THE COURT:   Okay.   And so, as far as you know, are

    24   those properties controlled by rent control?

    25                   PROSPECTIVE JUROR #14:     Yes.    Both are.




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     1                THE COURT:    Okay.    And do you have any opinions

     2   about rent control?

     3                PROSPECTIVE JUROR #14:      I do not have any specific

     4   opinion on that.

     5                THE COURT:    Do you think it's affected you in a good

     6   way or a bad way, or you just don't have a feeling about it?

     7                PROSPECTIVE JUROR #14:      We just purchased last year,

     8   and then there are tenants in the one building.         So we are

     9   increasing 3 percent every year.        The other one is mostly new

    10   tenants so to the market price.

    11                THE COURT:    Okay.    Do you think you can be fair to

    12   both sides in this case?

    13                PROSPECTIVE JUROR #14:      I think so.

    14                THE COURT:    All right.    Can I see counsel at

    15   sidebar?

    16                (The following was held at sidebar.)

    17                THE COURT:    If you didn't hear the courtroom deputy

    18   when they call, if you want to -- if you are going to say

    19   something, tell us your name first so the court reporter can

    20   know who is speaking.

    21          Is there anything counsel wants me to follow up on with

    22   any particular juror that I may have missed?

    23                MR. CLOSE:    I don't think so from plaintiff's side.

    24                THE COURT:    Mr. Close.

    25                MR. CLOSE:    Sorry.




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     1                 MR. ONSTOT:   Steve Onstot, nothing from defense

     2   side.

     3                 THE COURT:    All right.   We'll break for about

     4   15 minutes.    You can confer among yourselves, and then we'll

     5   talk about challenges for cause and peremptory challenges.

     6                 MR. CLOSE:    Sounds good.   Thank you.

     7                 MR. ONSTOT:   Thank you.

     8                 (The following was held in open court.)

     9                 THE COURT:    Ladies and gentlemen, we are going to

    10   take a morning break of just 15 minutes.

    11           A couple things I want to say.     The process will move

    12   rather quickly.     We are going to know by lunchtime who is going

    13   to stay as a juror and who is not going to stay.         So by noon

    14   you'll know where you are in the process.

    15           A couple other things -- I'll say this before every break,

    16   but I just really want to emphasize it this time right now is

    17   that don't discuss this case among yourselves or with anyone

    18   else.    Don't form or express any opinions about this case until

    19   it's finally submitted to you.       That means you've heard all the

    20   evidence, you've heard the arguments of the lawyers, and you've

    21   heard the legal statement of the law, and you are back there

    22   deliberating with jurors.

    23           Also don't do any independent research.      Don't consult the

    24   Internet.    Don't Google me.    Don't Google the lawyers.      The

    25   reason I'm saying -- there's a million other things that you




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     1   could do that I don't even understand.        So just don't try to

     2   figure out anything about this case using electronic media or

     3   the computer or social media.

     4          And the reason we say that is just to be fair to both

     5   sides; that is, that basically everything you learn about this

     6   case has to come from this courtroom.        If you are doing things

     7   that the lawyers don't know about, they can't address what

     8   you're -- they can't represent their clients appropriately

     9   because we don't know what's being presented to you.          So don't

    10   do any investigation or research on your own.

    11          We are going to see you -- for the jurors sitting in the

    12   jury box, remember where you are sitting because I'm going to

    13   ask you to sit in the same identical seats.        We are going to

    14   resume again in 15 minutes.      Reassemble outside.     Don't come in

    15   the courtroom.     And in 15 minutes we'll bring you back in.

    16   Thank you.

    17                THE CLERK:    All rise.

    18                (Prospective jury out at 11:18 A.M.)

    19                THE COURT:    I'll give you about ten minutes to

    20   consult among yourselves.      Then I'll come out, and we'll talk

    21   about challenges for cause and peremptories.

    22                (A brief recess was taken.)

    23                (Outside the presence of the jury.)

    24                THE COURT:    All right.   Challenges for cause from

    25   the plaintiff?




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     1                MR. CLOSE:    None, Your Honor.

     2                THE COURT:    Challenges for cause, defense?

     3                MR. ONSTOT:    Pass for cause, Your Honor.

     4                THE COURT:    First peremptory is with the plaintiff.

     5                MR. CLOSE:    We'll use our first on Juror No. 1.

     6                THE COURT:    All right.

     7          The next peremptory is with the defense.

     8                MR. ONSTOT:    No. 3, Your Honor.

     9                THE COURT:    The next peremptory is with the

    10   plaintiff.

    11                MR. CLOSE:    Plaintiff, No. 5.

    12                THE COURT:    The next peremptory is with the defense.

    13                MR. ONSTOT:    Defense passes.

    14                THE COURT:    Next peremptory is with the plaintiff.

    15                MR. CLOSE:    We pass.     The jury is acceptable.

    16                THE COURT:    So the jury would be Jurors 2, 4 --

    17   Jurors 2, 4, 6, 7, 8, 9, 10, and 11.        Is that everybody's

    18   understanding?

    19                MR. CLOSE:    I apologize, Your Honor.     One more time.

    20                THE COURT:    2, 4, 6, 7, 8, 9, 10, 11.     Those would

    21   be the first eight.

    22                MR. CLOSE:    Correct.

    23                MR. ONSTOT:    Correct.

    24                THE COURT:    Okay.   Let's go ahead and bring the

    25   jurors in.




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     1                 MR. CLOSE:   Before we do that, Your Honor, can I ask

     2   a quick question?

     3                 THE COURT:   Sure.

     4                 MR. CLOSE:   Will we be taking a break before

     5   openings?

     6                 THE COURT:   Yes.    I'm going to just swear the jury

     7   in, read some preliminary instructions, break for lunch, lunch,

     8   openings at 1:30.

     9                 MR. CLOSE:   Can I ask one other scheduling matter

    10   while we're all here?      Our second witness lives in Indio, deep

    11   desert.     Our plan had been to call her first tomorrow morning.

    12   I think that still makes sense.       But if there were going to be

    13   really short openings and a really short cross --

    14                 THE COURT:   We can break early.    All right.

    15                 MR. CLOSE:   Okay.    You're not -- okay.

    16                 THE COURT:   I just have the time frame in my mind.

    17   As long as we fill that time frame and don't go -- you know, as

    18   long as we don't go into next Friday -- as long as testimony

    19   ends when, you know, what I've represented to the jurors, I'm

    20   okay.

    21                 MR. CLOSE:   I think we are going to be fine.      I

    22   just -- we might, depending on the cross and stuff, end at 3:40

    23   today instead of getting deeper into the forest.

    24                 THE COURT:   All right.    As long as -- you know, I

    25   anticipated in my mind not a lot of testimony today.          So in




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     1   terms of the time, that's all I wanted to do was keep my

     2   commitment to the jurors when they'll start their

     3   deliberations.

     4                MR. CLOSE:    Thank you, Your Honor.

     5                THE COURT:    All right.   Let's go ahead and bring the

     6   jurors in.

     7                (Jury in at 11:32 A.M.)

     8                THE COURT:    We are missing one juror.

     9                THE CLERK:    I'll go check.

    10          Not out there.

    11                THE COURT:    Counsel, sidebar.

    12                (The following was held at sidebar.)

    13                THE CLERK:    She's not in the restroom either.      I

    14   checked the restroom.

    15                THE COURT:    She's one of the excused jurors.      Can I

    16   have counsel's stipulations?      We'll just proceed, and we'll

    17   excuse all -- she's one of the ones we are going to excuse and

    18   just move on.

    19                MR. CLOSE:    That's fine.     Matthew Close, plaintiff.

    20                MR. ONSTOT:    That's fine.     Steve Onstot, defense.

    21                (The following was held in open court.)

    22                THE COURT:    When you are excused on this case, go

    23   back to the jury assembly room and let them know that you've

    24   been excused.

    25          Juror in Seat No. 1, Ms. Espinoza, juror in Seat No. 3,




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     1   Ms. Perkins, and juror in Seat No. 5, Ms. Behrouzvazeri, you

     2   are excused.      You may go to the jury assembly room.

     3           Okay.    I'm going to ask jurors in Seat Nos. 12, 13, and

     4   14, to remain seated and the other jurors to please stand to be

     5   sworn in.

     6                   THE CLERK:    Please raise your right hand.

     7                   THE COURT:    Well, hold on.   Okay.

     8                   THE CLERK:    Ladies and gentlemen, do you solemnly

     9   swear you will well and truly try the cause now before this

    10   court and a true verdict therein render according to the

    11   evidence, so help you God?

    12                   THE JURY:    I do.

    13                   THE CLERK:    Thank you.

    14                   THE COURT:    Thank you.

    15           Okay.    Now, jurors in Seat Nos. 12, 13, and 14, you are

    16   now excused.      Thank you for your jury service.

    17           The jurors in the audience, you are also excused on this

    18   case.    Thank you for your jury service.       Just go back to the

    19   jury assembly room and let them know that you've been excused.

    20   Thank you.

    21                   THE CLERK:    You can leave the questionnaires on the

    22   chair.    Thank you.

    23                   THE COURT:    Ladies and gentlemen, you are now the

    24   jury in this case.      It is my duty to instruct you on the law.

    25   These instructions are preliminary instructions to help you




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     1   understand the principles that apply to civil trials and to

     2   help you understand the evidence as you listen to it.

     3          You will be allowed to keep this set throughout the trial

     4   to which you may refer.      This set of instructions is not to be

     5   taken home and must remain in the jury room when you leave in

     6   the evenings.

     7          At the end of the trial, I will give you a final set of

     8   instructions.    It is the final set of instructions which will

     9   govern your deliberations.      You must not infer from these

    10   instructions or anything I may say or do as indicating that I

    11   have an opinion regarding the evidence or what your verdict

    12   should be.

    13          It is your duty to find the facts from all the evidence in

    14   this case.    To those facts you will apply the law as I give it

    15   to you.    You must follow the law as I give it to you whether

    16   you agree with it or not, and you must not be influenced by any

    17   personal likes or dislikes, opinions, prejudices, or sympathy.

    18   That means that you must decide the case solely on the evidence

    19   before you.    You will recall that you just took an oath to do

    20   so.

    21          In following my instructions, you must follow all of them

    22   and not single out some and ignore others.        They are all

    23   important.    To help you follow the evidence, I will give you a

    24   brief summary of the positions of the parties.

    25          Plaintiff, Colony Cove Properties, LLC, has one claim




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     1   against defendants, City of Carson and City of Carson

     2   Mobilehome Park Rental Review Board.        Plaintiff alleges that

     3   defendants effected a taking of plaintiff's property without

     4   just compensation of violation of the Fifth Amendment to the

     5   United States Constitution and Title 42, United States Code

     6   Section 1983.    Plaintiff has the burden of proving this claim.

     7   Defendants deny this claim.

     8           When a party has the burden of proof on any claim by a

     9   preponderance of the evidence, it means you must be persuaded

    10   by the evidence that the claim is more probably true than not

    11   true.    You should base your decision on all of the evidence

    12   regardless of which party presented it.

    13           The evidence you are to consider in deciding what the

    14   facts are consist of, one, the sworn testimony of any witness;

    15   two, the exhibits which are received into evidence; and three,

    16   any facts to which the lawyers have agreed.

    17           In reaching your verdict, you may consider only the

    18   testimony and exhibits received into evidence.         Certain things

    19   are not evidence, and you may not consider them in deciding

    20   what the facts are.     I will list them for you.

    21           One, arguments and statements by lawyers are not evidence.

    22   The lawyers are not witnesses.       What they will say in their

    23   opening statements, closing arguments, and at other times is

    24   intended to help you interpret the evidence, but it is not

    25   evidence.    If the facts as you remember them differ from the




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     1   way the lawyers have stated them, your memory of them controls.

     2          Questions and objections by lawyers are not evidence.

     3   Attorneys have a duty to their clients to object when they

     4   believe a question is improper under the Rules of Evidence.

     5   You should not be influenced by the objection or by the Court's

     6   ruling on it.

     7          Three, testimony that has been excluded or stricken or

     8   that you have been instructed to disregard is not evidence and

     9   must not be considered.      In addition, sometimes testimony and

    10   exhibits are received only for a limited purpose.         When I have

    11   given a limiting instruction, you must follow it.

    12          Four, anything you may have seen or heard when the Court

    13   was not in session is not evidence.       You are to decide the case

    14   solely on the evidence received at trial.

    15          Some evidence may be admitted for a limited purpose only.

    16   When I instruct you that an item of evidence has been admitted

    17   for a limited purpose, you must consider it only for that

    18   limited purpose and for no other.

    19          Evidence may be direct or circumstantial.        Direct evidence

    20   is direct proof of a fact such as testimony by a witness about

    21   what that witness personally saw or heard or did.

    22   Circumstantial evidence is proof of one or more facts from

    23   which you could find another fact.

    24          You should consider both kinds of evidence.        The law makes

    25   no distinction between the weight to be given to either direct




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     1   or circumstantial evidence.      It is for you to decide how much

     2   weight to give to any evidence.

     3          There are Rules of Evidence that control what can be

     4   received into evidence.      When a lawyer asks a question or

     5   offers an exhibit into evidence and a lawyer on the other side

     6   thinks that it is not permitted by the Rules of Evidence, that

     7   lawyer may object.

     8          If I overrule the objection, the question may be answered

     9   or the exhibit received.      If I sustain the objection, the

    10   question cannot be answered, and the exhibit cannot be

    11   received.    Whenever I sustain an objection to a question, you

    12   must ignore the question and must not guess about what the

    13   answer might have been.

    14          Sometimes I may order that evidence be stricken from the

    15   record and that you disregard or ignore the evidence.          That

    16   means that, when you are deciding the case, you must not

    17   consider the evidence that I told you to disregard.

    18          In deciding facts in this case, you may have to decide

    19   which testimony to believe and which testimony not to believe.

    20   You may believe everything a witness says or part of it or none

    21   of it.

    22          Proof of a fact does not necessarily depend on the number

    23   of witnesses who testify about it.       In considering the

    24   testimony of any witness, you may take into account:

    25          One, the opportunity and ability of the witness to see or




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     1   hear or know the things testified to; two, the witness's

     2   memory; three, the witness's manner while testifying; four, the

     3   witness's interest in the outcome of the case and any bias or

     4   prejudice; five, whether other evidence contradicted the

     5   witness's testimony; six, the reasonableness of the witness's

     6   testimony in light of all the other evidence; and seven, any

     7   other factor that bears on believability.

     8          The weight of the evidence as to a fact does not

     9   necessarily depend on the number of witnesses who testify about

    10   it.

    11          I will now say a few words about your conduct as jurors.

    12   First, keep an open mind throughout the trial and do not decide

    13   what the verdict should be until you and your fellow jurors

    14   have completed your deliberations at the end of the case.

    15          Second, because you must decide this case based only on

    16   the evidence received in the case and on my instructions as to

    17   the law that applies, you must not be exposed to any other

    18   information about the case or to the issues it involves during

    19   the course of your jury duty.

    20          Thus, until the end of the case or unless I tell you

    21   otherwise, do not communicate with anyone in any way and do not

    22   let anyone else communicate with you in any way about the

    23   merits of the case or anything to do with it.         This includes

    24   discussing the case in person, in writing, by telephone, or

    25   electronic means via e-mail, text message, or any Internet chat




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     1   room, blog, website or other feature.

     2           This applies to communicating with your fellow jurors

     3   until I give you the case for your deliberation, and it applies

     4   to communicating with anyone else, including your family

     5   members, your employer, the media or the press, and the people

     6   involved in the trial.      Although you may notify your family and

     7   your employer that you have been seated as a juror in this

     8   case.    But if you are asked or approached in any way about your

     9   jury service or anything about this case, you must respond that

    10   you have been ordered not to discuss the matter and to report

    11   the contact to the Court.

    12           Because you will receive all the evidence and legal

    13   instructions you properly may consider to return a verdict, do

    14   not read, watch, or listen to any news or media accounts or

    15   commentary about the case or anything to do with it.          Do not do

    16   any research such as consulting dictionaries, searching the

    17   Internet, or using other reference materials.         And do not make

    18   any investigation or in any other way try to learn about this

    19   case on your own.

    20           The law requires these restrictions to ensure the parties

    21   have a fair trial based on the same evidence that each party

    22   has had an opportunity to address.       A juror who violates these

    23   restrictions jeopardizes the fairness of these proceedings and

    24   a mistrial could result that would require the entire trial

    25   process to start over.      If any juror is exposed to any outside




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     1   information, please notify the Court immediately.

     2          During deliberations, you will have to make your decision

     3   based on what you recall of the evidence.        You will not have a

     4   transcript of the trial.      I urge you to pay close attention to

     5   the testimony as it is given.       If at any time you cannot hear

     6   or see the testimony, evidence, questions, or arguments, let me

     7   know so that I can correct the problem.

     8          If you wish, you may take notes to help you remember the

     9   evidence.    If you do take notes, please keep them to yourselves

    10   until you and your fellow jurors go to the jury room to decide

    11   the case.    Do not let note taking distract you.       When you

    12   leave, your notes should be left in the jury room.         No one will

    13   read your notes.     They will be destroyed at the conclusion of

    14   the case.

    15          Whether or not you take notes, you should rely on your own

    16   memory of the evidence.      Notes are only to assist your memory.

    17   You should not be overly influenced by your notes or those of

    18   your fellow jurors.

    19          From time to time during the trial, it may become

    20   necessary for me to talk with the attorneys out of the hearing

    21   of the jury, either by having a conference at the bench when

    22   the jury is present in the courtroom or by calling a recess.

    23   Please understand that, while you are waiting, we are working.

    24          The purpose of these conferences is not to keep relevant

    25   information from you but to decide how certain evidence is to




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     1   be treated under the Rules of Evidence and to avoid confusion

     2   and error.    Of course, we will do our -- what we can to keep

     3   the number and length of these conferences to a minimum.

     4           I may not always grant an attorney's request for a

     5   conference.    Do not consider my granting or denying a request

     6   for a conference as any indication of my opinion of the case or

     7   what your verdict should be.

     8           Trials proceed in the following way:      First, each side may

     9   make an opening statement.      An opening statement is not

    10   evidence.    It is simply an outline to help you understand what

    11   that party expects the evidence will show.        A party is not

    12   required to make an opening statement.

    13           The plaintiff will then present evidence, and counsel for

    14   the defendant may cross-examine.       Then the defendant may

    15   present evidence, and counsel for the plaintiff may

    16   cross-examine.

    17           After the evidence has been presented, I will instruct you

    18   on the law that applies to the case, and the attorneys will

    19   make closing arguments.      After that, you will go to the jury

    20   room to deliberate on your verdict.

    21           Ladies and gentlemen, we are going to take the lunch

    22   break.    I'm going to have you go back to the jury deliberating

    23   room.    Ms. Hernandez will take information from you and give

    24   our contact information, and then she'll give you some

    25   procedures to follow in leaving and coming into the jury room




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     1   from the hallway.     We'll see you at 1:30.

     2                THE CLERK:    All rise.

     3                (Outside the presence of the jury.)

     4                THE COURT:    Would it be easy to do the exhibits at

     5   the end of the day or right after lunch?        I don't know what --

     6   you only have one witness.        Do you want to just do it after

     7   lunch?

     8                MR. CLOSE:    We are just going to move them in

     9   en masse; correct?

    10                THE COURT:    Yes.

    11                MR. CLOSE:    I'm happy to do it right before we open

    12   or do it now.    That's your choice.

    13                THE COURT:    Ms. Hernandez needs to be present to

    14   help me keep it organized.

    15                MR. CLOSE:    Can you hear, Jim?

    16          Mr. Goldstein doesn't hear well and is having a struggle

    17   in here.

    18                THE COURT:    Wendy, do those work for counsel table?

    19                THE CLERK:    They should all be working, Your Honor.

    20                MR. CLOSE:    If there's a second set, maybe we can

    21   try that second set.

    22                THE COURT:    The second set?    Let's see if we can fix

    23   it by trying a couple of different sets.        Then we'll see

    24   everybody at 1:30, and we'll deal with the exhibits, and then

    25   we'll have opening.




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     1                MR. CLOSE:    Thank you, Your Honor.

     2                (At 11:53 A.M. the lunch recess was taken.)

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     1                      CERTIFICATE OF OFFICIAL REPORTER

     2

     3

     4

     5                   I, MAREA WOOLRICH, FEDERAL OFFICIAL REALTIME COURT

     6   REPORTER, IN AND FOR THE UNITED STATES DISTRICT COURT FOR THE

     7   CENTRAL DISTRICT OF CALIFORNIA, DO HEREBY CERTIFY THAT PURSUANT

     8   TO SECTION 753, TITLE 28, UNITED STATES CODE THAT THE FOREGOING

     9   IS A TRUE AND CORRECT TRANSCRIPT OF THE STENOGRAPHICALLY

    10   REPORTED PROCEEDINGS HELD IN THE ABOVE-ENTITLED MATTER AND THAT

    11   THE TRANSCRIPT PAGE FORMAT IS IN CONFORMANCE WITH THE

    12   REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

    13

    14

    15                              DATED THIS    28TH   DAY OF APRIL, 2016.

    16

    17

    18                              /S/ MAREA WOOLRICH
                                    ______
    19                              MAREA WOOLRICH, CSR NO. 12698, CRR
                                    FEDERAL OFFICIAL COURT REPORTER
    20

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                 #                   15-MINUTE [1] - 9:16                                             61:24
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                                     18 [3] - 38:21, 39:2, 39:3                                      ADVOCACY [1] - 58:6
  #10 [8] - 44:14, 44:23, 45:4,      1983 [4] - 5:8, 28:24, 63:16,   7 [16] - 12:13, 40:23, 41:14,   ADVOCATES [1] - 58:2
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